Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 1 of 97 Page ID
                                  #:1887


  1997 WL 1068459 (Ohio C.P., June 23, 1997). This Court holds
                                                                        that Defendant violated the
  CSPA. and awards three times her actual damages of $1373.00 for
                                                                         a total of $4119.00 for this
  violation.

         Failure to Honor Express and Implied Warranties as required by
                                                                              the CSPA.
          Failure by a supplier in connection with a consumer transaction
                                                                              to honor express and
 implied warranties, constitutes deceptive acts and practices in violati
                                                                          on of the Ohio Consumer
 Sales Practices Act. R.C. § 1345.02(A) and R.C. § 1345.02(B)(1
                                                                       0). See, Brown v. Lyons, 43
 Ohio Misc. 14, 19, 332 N.E.2d 380, 385 (Ohio Com.Pl. 1974); State
                                                                           ex ref. Fisher v. Buckeye
 Home Improvement, Case No. 92CV6602 1079, Franklin
                                                             Cty. C.P., May 24, 1993); Matthews v.
 Route 53 Marina, Inc., Case No. 86-CVF-514 (Muni Ct., April
                                                             23, 1987). In addition, it            is a
 violation of the Ohio Consumer Sales Practices Act when a suppli
                                                                       er fails to honor implied
 warranties of merchantability. Id Moreover, the damages for
                                                             the breach of contract are also
 trebled as a violation of the Consumer Sales Practices Act. Brown
                                                                   v. Spears, No. 8897 (Franklin
Muni. Ct., Aug. 20, 1979).

        In the case sub judice, Plaintiff purchased a rebuilt engine
                                                                       in response to Defendant's
representations that the rebuilt engine would be reliable and depen
                                                                       dable and in reliance upon the
express and implied warranties that were made by Defendant with
                                                                       respect to that engine.
Defendant failed to remedy and repair plaintiff's vehicle from defect
                                                                        s to conform with the express
and implied warranties.

       The measure of damages or breach of warranty is the difference
                                                                            at the time and place of
acceptance between the value of the goods accepted and the value
                                                                       they would have had if they
had been as warranted, unless special circumstances show proxim
                                                                   ate damages of a different
amount. R.C. § 1302.88(B) or, as an alternative, the court may award
                                                                          damages based upon the



       Via 5 9 8 p72
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 2 of 97 Page ID
                                  #:1888




 cost to repair. See., Tighe v. Bodyguard Rustproofing Co., 1983 WL 4243 (Ohio Ct. App. 9th

 Dist., Sept. 21, 1983). See also. Universal Medical System, Inc. v. Duke, 1995 WL .79782 (Ohio

 Ct. App. 8th Dist., Feb. 23, 1995). Plaintiff received an estimate from an independent repair

 company for a rebuilt engine at a cost of $2,865.45.

         Where is a breach of warranty, as there is here, the proper measure of damages are the

 damages for breach and damages for the violation of the CSPA which are to be trebled damages

 for a total of four times actual damages. R.C. § 1345.02(A) and R.C. § 1345.02(B)(10). Brown

 v. Spears, supra; Valadingham v. Jack Walker Pontiac Toyota, Case No. 81-2686 (C.P.

 Montgomery Cty., July 14, 1982); Kuhn v. Tracy, supra.

         Although the award of four times actual damages seems rather harsh, it is justified. It is

 justified because the law mandates such a result. Damages under the CSPA ["are in addition to

 remedies otherwise available for the same conduct under state or local law."[ R.C. § 1345.13.

 [Emphasis added.] Defendant breached express and implied warranties provided to plaintiff

 which makes defendant liable to plaintiff. Also, since cases in this state which are within the

 Public Inspection File have held that a supplier's breach of warranty in a consumer transaction is a

 deceptive act or practice. Since defendant breached express and implied warranties given to

 plaintiff; then plaintiff is entitled to trebled damages for violations of the CSPA related to the

 breach of warranty.

        The result here may seem harsh. However, the result is consistent with the intentions of

the CSPA and the general scheme of consumer protection statutes. The CSPA has as its stated

 purpose to eliminate any monetary incentives for suppliers to engage in unfair and deceptive

 practices. (137 Ohio Laws, Part II, 3219.) "A judgment for the consumer in such a case may

 discourage violations of the Act by others." Bitner v. Tr -County Toyota, Inc., 58 Ohio St.3d



       VOL2598 Pi; •173
 Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 3 of 97 Page ID
                                   #:1889


  143, 144, 569 N.E.2d 464, 466 (1991). "The sole purpose of the Act is to protect consumers and

  eradicate deceptive trade practices which necessarily entails a liberal interpretation of the Act to

  effectuate this legislative intent." Fletcher v. Don Foss of Cleveland, Inc., 90 Ohio App.3d 82,

    ,87, 628, N.E.2d 60, 63 (Ohio App. 8th Dist., 1993). Thus, the above result is mandated in light
./ •
     of the remedial purpose of the Act.

          Accordingly, this Court holds that Defendant breached the express warranty and violated

  the CSPA and awards four times plaintiff's actual damages of $2,865.45 for a total of $11,461.18.



          Fraud

          A supplier commits fraud when all the following elements are established:

                  "(1) A false representation concerning a fact.

                  (2)    Knowledge of the falsity of the representation or utter disregard for
                         truthfulness.

                  (3)    To induce reliance upon the representation.

                  (4)    Reliance upon the representation.

                  (5)    Proximately caused by Defendant."

 Beder v. Cleveland Browns, Inc., 1998 WL 382179 at *5 (Ohio Ct. App. 8th Dist.,

  July 20, 1998). Defendant falsely and fraudulently represented that the engine was rebuilt, when

 in fact it was not rebuilt and this representation was material to plaintiff's transaction. Defendant

 knew that the representations were false and were made with the intent to deceive or defraud

 plaintiff and to induce her into providing Defendant with payment for a rebuilt engine. Moreover,

 plaintiff lacked any knowledge that the engine was not rebuilt, but instead relied upon Defendant's

 representations to her detriment and subsequently incurred significant damages. Since plaintiff




     VOL2598 f)g.:174
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 4 of 97 Page ID
                                  #:1890




  satisfied all elements for common law fraud, this Court grants ptaintiff damages for her fraud

  claim in the amount of $873.00.

          Injunctive Relief

         Under the Consumer Sales Practices Act, this Court is vested with the power to enjoin

  Defendant Don Lewis from engaging in practices found to be in violation of the CSPA.

  R.C. § 1345.09(D). This Court grants plaintiff's request for injunctive relief and therefore orders

 that Defendant Don Lewis, his agents, representatives, employees, sucessors and assigns, and all

  persons acting in concert and participation with Defendant, directly or indirectly, through any

 corporate device, partnership, or other association, are hereby permanently enjoined from:

         (a)     Failing to provide an itemization of charges for repairs and/or services for a motor
                 vehicle.

         (b)     Failing to tender parts as required by the CSPA.

         (c)     Failing to provide an estimate of repairs or services as required by the CSPA.

         (d)     Failing to honor express and implied warranties as required by the CSPA.

         (e)     Performing any act or practice, by any means whatsoever, which is declared to be
                 deceptive or unconscionable under the terms of this judgment, and committing any
                 other deceptive act or practice which violates Ohio Revised Code § 1345, et s:L.q.

         (f)     Performing any act or practice, by any means whatsoever, which is declared to be
                 fraudulent under the terms of this judgment.




      VOL2598 PC; 75
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 5 of 97 Page ID
                                  #:1891



       Attorney's Fees

       Plaintiff is entitled to an award of attorney's fees pursuant to R.C. § 1345.09(F)(2). This

Court's determination of awarding attorney's fees follows the reasoning in accord with Bittner v.

Tri-County Toyota, Inc., 58 Ohio St.3d 143, 569 N.E.2d 464 (1991). In Bittner, the court held

that "[t]he thrust of the CSPA is to not make wronged consumers whole, but to eliminate any

injunctive incentive to the supplier to violate provisions of the act." Moreover, the court noted

that the CSPA must be liberally construed for the benefit of the consumer. Attorney's fees

awarded may also produce a "general" benefit to the community via the deterrent effect.

       Plaintiff's counsel has submitted attorney fees based upon 63 hours expended by the

attorney and his staff for a total of $6,450.00. The Court finds that the hours expended and the

amount per hour is reasonable for this type of case. In addition, expenses of $115.86 are also

awarded for a total of $6,565.86. (See Affidavit of Ronald Frederick, Exhibit A)

       Although it appears this Court has granted plaintiff damages which are substantially in

excess of the amounts paid by plaintiff, the CSPA and regulations are clear. As was so very well

stated by Judge Boyko of the Cuyahoga County Court of Common Pleas in Rubin v. Gallery

Auto Sales, supra:

       The result is both warranted, yet unfortunate. It is warranted based upon the
       purpose and deterrent affect of the consumer laws and the facts of this case. It is
       unfortunate that neither defense counsel nor the defendants had the clear vision to
       stop the bleeding early on and award the exposure which came to fruition.

       The Court finds it incredulous that defendants still maintains he did nothing wrong.
       While the Court acknowledges defendant's naivete and small businessman status,
       the law is clear and makes no exceptions for small car [repair] operations.




      VOL2598 PG 176
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 6 of 97 Page ID
                                  #:1892




        The message to other car [repair] operations from this case should be clear:

        The law will be strict and unforgiving to those who would seek to avoid the
        protection given to consumers in this highly susceptible market.

 Rubin v. Gallery Auto Sales, Case No. 303854 (Court of Common Pleas, Cuyahoga Cty. June 23,
 1997 WL).




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Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 7 of 97 Page ID
                                  #:1893



                              SUMMARY OF DAMAGES AWARDED

                 Violations of the Consumer Sales Practices Act

        Defendant committed eleven (11) separate violations of the CSPA. Six (6) of the

,violations did not result in any quantifiable damage to plaintiff. Thus, plaintiff is entitled to the

statutory amount of $200.00 for each of those claims or $1,200.00. RC. §1345.09(B). Crye v.

Smolak at 784.

        Moreover, plaintiff is entitled to three times actual damages on the remaining causes of

action for violations by Defendant of the CSPA. Defendant failed to provide an estimate for

repairs performed on three separate occasions. Plaintiff's actual damages were the total cost of

plaintiff's repairs of $1373.00. Therefore, the damage award for this violation is three times

plaintiff's actual damages for three repairs for a total of $4119.00.

        In addition, plaintiff is entitled to three times actual damages for Defendant's breach of

warranty in violation of the CSPA. Plaintiff's actual damages are: $2,865.45 for the cost to

repair. Thus, the trebled damages award for this cause of action is $8,596.35.

        In total, damages awarded for violations of the CSPA are $13,915.35.

                Additional Damages for Breach of Warranty

Where there is a breach of warranty, plaintiff is entitled to the proper measure of damages which

consists of damages for breach and trebled damages for a total of four times actual damages.

Thus, this Court awards plaintiff separate damages for the breach of warranty in the amount of

$2,865.45.

                Damages for Common Law Fraud

        Since plaintiff satisfied all elements of common law fraud, this Court grants plaintiff

damages in the amount of $873.00.




                V0[2598 i)G J178
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 8 of 97 Page ID
                                  #:1894




                      Injunctive Relief

          This Court awards injunctive relief as set forth above.

                      Attorneys' Fees

          This Court grants attorney's fees and costs pursuant to R.C. § 1345.09(F)(2) in the

 amount of $6,565.86.

                      Total Verdict

         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Judgment be entered in

 favor'of plaintiff Yolanda Khouri against defendants Don Lewis and D.R.L., jointly and severally,

 in the amount of $24,219.66.



 DATED: 1/4/1-1)`)1




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Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 9 of 97 Page ID
                                  #:1895




                        EXHIBIT L
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 10 of 97 Page ID
                                  #:1896




                                 .                                         .   .
         PIP Number:    J40.01524
                                                  -         --- -
         Case Name:     MARY WALLS V. HARRY WILLIAMS; BUTCH'S AUTO SALES

                                                                                   •
         Case Number: 19.1CyH36.9_.,
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 11 of 97 Page ID
                                  #:1897




     f.    •




                    IN THE MUNICIPAL COURT OF STEUBENVILLE, OHIO

          MARY WALLS,                                                          cr,

                    Plaintiff,     RECEIVED                    ase No. 94-CVH-3?g
               V.                                              udge Powell       I-
                                    MAY 2. 4 1995
          HARRY WILLIAMS
                                                                               - 0
                                   ATTORNEY GENERAL OF OHIO                    cp94
                                                                               ==.
          dba BUTCH'S AUTO SALES    CONSUMER TRAUB & CRIMES
                                      PUBLIC INSPECTION PILE
                    Defendant.          ,....••••••••••••.in   UDGMENT ENTRY


               Plaintiff on April 19, 1995, filed a Motion to Show Cause as
          to Injunction under Ohio Revised Code Section 1345.09(D), along
          with a Notice of Hearing, sent both regular and certified U.S. mail
          to Defendant. Defendant was duly served with the motion and
          hearing notice as evidenced by a domestic return receipt dated
          April 20, 1995. This Court held a hearing on May 5, 1995, upon
          Plaintiff's motion. Defendant failed to appear at the hearing and
          further failed to otherwise communicate with this Court and with
          Plaintiff's counsel.
               Upon Plaintiff's motion and for good cause shown, it is hereby
          ORDERED, ADJUDGED, AND DECREED that Defendant, Harry Williams, dba
          Butch's Auto Sales, shall be enjoined from committing the following
          acts and omissions, pursuant to O.R.C. Section 1345.09(D) of the
          Ohio Consumer Sales Practices Act:
               1.   Deceptively representing that vehicles are of a
          particular quality or standard when they are not;
               2.   Failing to honor rescission of agreements;
               3.   Selling cars at prices substantially in excess of price
          at which similar goods were available in similar transactions;
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 12 of 97 Page ID
                                  #:1898




               4.      Failing to honor express warranties;
               5.      Failing to incorporate into written contract material
       statements by you;
               6.      Failing to transfer titles at time of purchase;
               7.      Failing to register/report with Secretary of State use of
       fictitious name; and
               8.      Committing further violations of the CSPA, as defined in
       O.R.C. Chapter 1345.
               IT IS SO ORDERED.


       Dated:
                                                      JUDGE RICHARD POWELL

       Prepared and submitted by:
       SOUTHEASTERN OHIO
       LEGAL SERVICES PROGRAM


             /kb),             42fg
      'Theresa E. Morelli (0042098)
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Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 13 of 97 Page ID
                                  #:1899




                        EXHIBIT M
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 14 of 97 Page ID
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                                                            1 En
                    IN THE MUNICIPAL COURT OF FRAN LO 2o gn          c5
                                                  KLIN, OHIO
   DONALD BROWN, et al

           Plaintiffs                         Case No. 8897


   DoNALL G. SPEARS, et al

           Defendants


     This cause comes before the
  judgment against defendant Don Court on the plaintiffs' motion for default
  Donal' G. Spears, dba Springboral]. G. Spears, individually, and defendant
  finds upon a review of the reco o Heating and Air Conditioning. The Court
  June 1, 1979, and have failed rd that these two defendants were served on
  to otherwise appear before theto answer the allegations of the complaint or
  plaintiffs present evidence in Court. On July 20, 1979, this Court heard the
  before deciding the question   support of damages in their cau
                                                                  se. However,
  the law to determine the legaof damages, this Court must turn to a review of
                               l sufficiency of the claims whic
  bring before it.                                              h the plaintiffs

     Initially, this Court finds
  defendants were merchants and that the plaintiffs were consumers and the
                                suppliers within the meaning
  Sales Practices Act, O.R.C. 1345                           of the Ohio Censurer
  action did engage in the cons . et seg, and further that the parties to this
  complaint.                   umer transactions which are alle
                                                                ged in the
     Briefly stated, plaintiffs'
  an unfair or deceptive act in first claim alleges that the defendants committed
  the word "warranty" on the contviolation of O.R.C. 1345.02(A) by their ase of
  as Exhibit A, which itself alle ract offer which is attached to the complaint
  15 U.S.C. §2301 et seq. The Courgedly violates the Magnuson Moss
                                                                     Warranty Act,
 defendants in the contract offe t has examined the language used by the
 and finds as a matter of law     r, and has further examined
                                                               15 U.S.C. §2303,
 Statute, in that the defendanthat the language is in violation of the Federal
                               ts
  year warranty on heat exchange   cont ract offer states that there
                                                                      is a "ten
 "full" or "limited". The eff r" but fails to designate said warranty as either
                               ect of this violation is seen
 S2310(b) which states that                                   by examining 15 U.S.0
 itself a violation of the a violation of the Magnuson Moss Warranty Act is
                            Fede
 Turning to 15 U.S.C. §45, this ral Trade Commission Act, 15 U.S.C. §45(a)(1).
 declared unlawful "unfair or Court finds that the United States Congress has
 coarerce".                    deceptive acts or practices in
                                                                or affecting

     The Court having found that
 question. next presented by the the defendants have      eted Federal Law, the
 constitutes a violation of Ohio plaintiffs first clams whether that violation
 urge two grounds on which to 's Cbnsumer Sales Practices Act. Plaintiffs
 defendant-supplier violates so hold. First, the plaintiffs urge that when a
 and necessarily an unfair or a Federal Statute, his act in so doing is inherently
                               deceptive act, which violates
 In support thereof plaintiffs                                the Ohio Statute.
 216, 332 N. E. ,2d 380 (1974).cite Brown v. Lyons, 43 0. Misc. 14, 12 O. O. 2d
cited by the plaintiffs to be The Court finds the second reason, however,
                                an
the legal sufficiency of plaintif even wore cogent ground on which to *hold
requires this Court to look        fs' first claim, that being that
                             to                                     State Law
and since a violation of Fede Federal Law in construing "unfair and deceptive"
a violation of the State Law   ral Law has already been foun
                               must also 1-e seen to exist. d by this Court, then
    Referring to O.R.C. 1345.02(
Uiis Court is directed to give C), this Court finds that, as a matter of law,
fact that the defendants have "due consideration and great weight" to the
this Court's construction of been found to violate 15 U.S.C. 45(a)(1), in
                              whether or not the defendants have
unfair or deceptive act or prac
                                 tice under Ohio Law.             committed an
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 15 of 97 Page ID
                                  #:1901
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                  pArie                                                                  •

                     Therefore, this Court finds, as a ;setter of
                  supplier violates 15 U.S.C. 52303, his          lag, that where .t defendant.-
                                                           act in
                  necessarily a violation of O.R.C. 1343 -02(A) so doieg is inherently and
                                                         .      •
                      Turning to plaint( ffs' necond claim, the
                  are mach the Immo as in the first claim alb:Nettling found lune by tett wart
                                                             , except that the violation by ite
                  defendants here alleged is in their use
                                                          of the
                  qualifying phrase on the jab invoice, whit word "warranty" without the
                                                               er is attached to the emie etet
                  )•tdtibit 13.

                     As cited herein, the Court finds as a
                                                           twitter of law that tie, eunduct. al bey cr
                  in the second claim is a violation of O.R.
                                                             C. 1345.02(A).
              1     Plaintiffs' third claim' is grounded on the
                 the defendants, in that the defendants          aLlegod beeatiti       Exylltrao. by
                                                         1.1olated the empress warrantice in the
                 contract, upon a review of the contract
                                                           proposal and job. invoices, the Court
                 finds these documents to be a contract
              , plaintiffs pzuntised to_pay the defendantbet .sr the parties whereby the
                                                           s
                 themselves to install properly and corr $600 and the defendants eotanitted
                 premises craned by the plaintiffs. In      ectly an oil furnace in the residentia
                                                        addition thereto, the defendants geve l
                 "a ten year warranty on heat exchanger,
                as per contract". Thetburt finds that the one yyeear parts and labor guarantee
                                                                  fs teem perfcreete their gat ef the caite a
                    The court finds that the plaintiffs reasonab
                and representations given by the defe                ly relied upon the warrantir.s
                                                        ndan
                contract- These tepeesentations included ts to induce them to enter into this
                defects in the oil furnace whith manifestthat. the defendants wuulct rerthty any
                at no cost to the plaintiffs. The Cou        ed thenselvos within the first year
                                                        rt further finds that shortly aftar the,
                installation of the furnace by the defen
                problem did arise in the furnace and dants, a defect or other weehartioal
                                                        that as a result thereof .t dal k,
                dirt and soot nnterial was emitted by
                                                         the
                   plaintiffs'hotte. The 0ourt further -fin furnace throeghout the entire interim
                muerte.= complaints and telephone calls ds that the plaintiffs did mike
                did not. tecirrect the rabbis. The Cou to the defendants, but the defendants
                                                         rt finds that the plaintiffs did provide'.
                the defendants with an adequate reste
                                                        r of opportunities to repair the probtene
                teeter the terms of the warranties but
                to di sQ and thurehy hinacheci their cont that the defendants reeved er
                                                            ract with these plaintiffs. The
               plaintiffs introduced numerous phobegra
                length aboot the damps caused by this.     phs  into evidence and testi 11. el at
                                                          soot
               mul about the numerous attempts they mad which was (stetted by the furatee,
               numerous promises nede by the defendant e to contact the cletereturts and the
                                                           s to come out and repair the furnace,
               all of which were to rue avail.

                  Turning to the plaintiffs' fourth claim
               the intentional beach of a contract by     ; the plaintiffs al   therein that
               of O.R.C. 1345.02(A). In reliance      a supplier-defeer3ant is a violation
                                                 thereon, the plaintiffs cite Bruen v. Lyon
               sitea.                                                                        s,

                         12. Mere a supplier has legal obligation
                         where there are no valid legal defenses      s to censurers, and
                                                                   for not performing
                         those obligations, a supplier who avoi
                                                                  ds or attempts to avoid
                         those obligations =emits a deceptive
                                                                  act or practice in
                         violation of the Chio Oxesurter Sales Prac
                         43 0. Misc. at 20; 72 O.O. 2d at 219; 332 tices Act, R.C. e1345.02(A).
                                                                      N. E. 2d at 386.
                  The Court finds as a trotter of law that
                                                             where a defendant-supplier breaches
              his contract with a plaintiff-censurer,
                                                          without any legal defences for not
              performing those cigigations, then he
                                                         has omitted an unfair cr deceptive
              or itrect i..r in violation of O.R.C. 1345                                     act
                                                          .02(A).
                   taittly, plaintiffs' fifth claim alleges
                                                            that "in its handling and servicing
              •tt. tete es to repair the furnace's defec
                                                         ts and problem, defendants have, joint
                                                                                                ly
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 16 of 97 Page ID
                                  #:1902
   Page Three.
   and severally, consistently maintained a
   and continually stalled and evaded their pattern of inefficiency, inc._ Evetency,
                                             legal obligations to properly perform
   the warranty work contracted for with these
   violated O.R.C. 1345.02(A) and/or O.R.C.     plaintiffs," and thereby have
                                             1345.03(A).
     In making the determination of unconscionabil
  the activity of the defendant-suppliers           ity, this Court must loll( to
                                           herei
  Inc., 41 0. Misc. 276, 68 0.0. 2d 276 (1974 n. Brown v. Market Development,
  that the plaintiffs made repeated telephone ). In so doing, the Court finds
  defendants, continually expressing their     calls and inquiries of the
                                           complaints and problems which they
  were experiencing throughout the warranty
  further finds that the defendants did repeaperiod with this furnace. The Court
  they would come out and fix the furnace,   tedly promise the plaintiffs that
                                           but failed to so do.
       The Court finds as a matter of law that where
   connection with a consumer transaction, conti        a defendant-supplier, in
   legal obligation to consumers, he thereby        nuall y stalls and evades his
   practice in violation of O.R.C. 51345.03(A   commits an unconscionable act and
   clear from the evidence adduced at the heari). Brawn v. Lyons, supra. It is
   defendants have failed to respond to, that ng on July 20, 1979, which the
   stall and evade their legal obligation to the defendants herein did indeed
                                                these plaintiffs-consumers.
       This Court now turns to the question of
   on plaintiffs' first and second claim, that damages. 'l1 Court finds that
   Federal Law, absent a Showing of damages       the mere use of words which violate
                                              flowing therefrom, entitles the
   plaintiffs to $200 on each claim, as allow
                                                ed by O.R.C. 1345.09.
      On plaintiffs' third claim, which is found
  contract, the Court has reviewed the evide ed on the defendants' breach of
  plaintiffs have suffered actual damages innce presented and finds that the
                                                 the amount of $2,981.67.
      Turning to plaintiffs' fourth and fifth
  plaintiffs are entitled to treble actual claims, the Court finds that the
                                              damages pursuant to O.R.C. 1345.09.
      However, the plaintiffs are limited to the
  and the Court therefore finds that the            amount pleaded in their complaint,
                                           total damages to be allowed the
  plaintiffs on their claims is the amount
                                             of $9,400.90., plus their costs herein.
      The Court now turns to the question of attor
  Court allows the plaintiffs the amount of          ney fees, and in so doing the
  pursuant to O.R.C. 1345.09(F)(2).            $200 as reasonable attorney fees

    The Court, lastly, is not unmindful that
 has been sued herein in his individual capac the defendant, Donall G. Spears,
                                              ity
 proprietor and corporate officer of the defen as well as his status as sole
 Air Conditioning. However, the Court finds dant, Springboro Heating and
 officers who have participated in a decep as a matter of law that corporate
                                           tive consumer sales practice may be
 held personally liable in an action under
 Calpany V. Brown, 6 0. 0. 3d 185 (1977);    R. C. Chapter 1345. Quality Caret
                                          Brown v. The Wonderful World Publishin
 Coupaa, ('asp No. 74 CV-12-4741 (C.P. Frank
                                             lin County, 7-28-76).
    It is therefore ordered, adjudged and decre
 Brown and Mary Brown, shall recover             ed that the plaintiffs, Donald
                                     of the
 individually, and Donal]. G. Spears, dba defendants, Donall G. Spqars,
                                          Sprin
 jointly and severally, the sum of $9,600.90, gboro Heating and Air Conditioning,
 plus interest at the rate of 7% per           plus their costs in this action,
                                     annum.




                                                TRACE

 cc: Ronald L. Burdge, Attorney for Plaintiffs
     Donall G. Spears
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 17 of 97 Page ID
                                  #:1903




                        EXHIBIT N
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 18 of 97 Page ID
                                  #:1904




         PIF Number:   110001427

         Case Name:     LINDA BRINKMAN V. MAZDA MOTOR OF AMERICA, INC., ET Al.


       ' Case Number: IICV 920479
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 19 of 97 Page ID
                                  #:1905




                        •                                        RECEIVED
                                                                     MY 2 1994
                  IN THE COURT OF APPEALS OF LUCAS COUNTY       ATTORNEY
                                                                 CONSU
                                                                           GENERAL   OF  OHIO
                                                                      MER FRAUDS & CRIMES
                                                                   PUBLIC INSPECTION FILE

     Linda Brinkman                         Court of Appeals No. L-93-142

               Appellant                    Trial Court No. CV 92-0479

     v   .
                                FLED
                           ..', OLIRTOFAPPEALS
     Mazda Motor of Amer ca
     Inc., et al.              MAY     3 q9:'          JUDGM NT ENTEX

               Appellees   LUCAS ODUN%QtEe : May 13, 1994
                             Harry Barlos, CIergA


               David Klucas, for appellant.

               Douglas P. Holthus, for appellee.
                                     * * * * *
                                                         COPY
               ABOOD, P.J. This is an- appeal from a judgment of the

     Lucas County Court of Common Pleas which, in accordance with a

     jury verdict, found in favor of appellees Mazda Motor of America,

     Inc. and Brown Mazda on all of appellant Linda Brinkman's claims

     arising from her purchase of a 1991 Mazda automobile.

               Appellant sets forth two assignments of error on

     appeal:

               "FIRST ASSIGNMENT OF ERROR
               THE TRIAL COURT COMMITTED REVERSIBLE ERROR
               WHEN IT FAILED TO INSTRUCT THE JURY ON THE
               PROPER MANNER TO CONSIDER THE CLAIMS OF THE
               APPELLANT ARISING FROM OHIO'S NONCONFORMING
               MOTOR VEHICLE LAW, OHIO REVISED CODE
               §§1345.71 ET SEO. (Tran. pp. 214-16, 221)



     1.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 20 of 97 Page ID
                                  #:1906




                 "SECOND ASSIGNMENT OF ERROR
                 THE TRIAL COURT COMMITTED REVERSIBLE ERROR
                 WHEN IT SUBMITTED INTERROGATORIES TO THE JURY
                 WHICH CONTAINED MISLEADING QUESTIONS ADDRES-
                 SING THE CLAIMS OF APPELLANT ARISING FROM
                 OHIO'S NONCONFORMING MOTOR VEHICLE LAW, OHIO
                 REVISED CODE H1345.71 ET SEO. (Tran. pp.
                 214-16, 221)"

                 On February 14, 1992, appellant filed this suit against

       Mazda.Motor of America, Inc.("Mazda") and Brown Mazda, Brown

       Motor Sales Co., and Brown Automotive Group Brown Imports Company

       ("Brown Mazda"), in which she set forth eight causes of actions

       arising out of her purchase of a 1991 Mazda 626 LX.   The case

       proceeded to trial on all claims. Several were dismissed during

       the trial, however, and the jury was instucted only on those of

       (1) breach of express and implied warranty; (2) unfair and

       deceptive acts under Ohio's Consumer Sales Practices Act, and

       (3) breach of Ohio's Lemon Law. By agreement of the parties, the

       alleged violations of Ohio's Consumer. Sales Practices Act,

       including the Lemon Law claim, were prosecuted only as to

       appellee Mazda. At the conclusion of the trial the jury found in

       favor of the defendants on all claims. This appeal has been

       brought, however, only as to appellant's Lemon Law claims against

       Mazda.

                 The facts that are relevant to the Lemon Law issues

       raised by this appeal are as follows. At trial appellant



       2.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 21 of 97 Page ID
                                  #:1907




     testified that she paid $16,042 for the Mazda, financed the

     purchase through a loan from what is now the Bay Credit Union,

     and took delivery on February 9, 1991. She stated that within

     the first couple weeks of driving her new car she noticed a

     buzzing noise when she turned the key and felt grabbing with the

     brakes. Later, the brakes started to "growl" and make a

     "chattering noise" and, on May 2, 1991, she took the car back to

     Brown Mazda to be serviced. At that time she had almost 5,000

     miles on the car. On August 29, 1991, appellant took the Mazda

     in for service again, this time because of a 'buzzing and

     grinding" noise, a leak in the trunk, and for an estimate on the

     small amount of damage that had been done to the car when her

     husband hit their mailbox. When asked by her counsel how the car

     had operated between May and August 1991, she stated "fine ***

     except for the fact that I was intimidated or frightened of the

     buzzes, and it progressively was getting louder and more often

     *** it was something that was hardly there in the beginning now

     was getting to be a nuisance." She stated that she complained to

     a Brown Mazda salesmanager about the buzzing noise and the brake

     chattering once between May and August 1991 and that after the

     August 29, 1991 service it continued to get worse. She made

     another appointment for the car on October 31, 1991, and told the

     service department at that time that, after having her friend

     3.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 22 of 97 Page ID
                                  #:1908




       speak with a chief engineer at Mazda, she thought it was the

       hydraulic pump in the antilock braking system ("ABS") that was

       the problem. When she picked her car up, the mechanic told her

       that they took a fine cut off the rotor and changed the brake

       pads. The buzzing never changed and three days later the brakes

       began to grind again and she contacted the Mazda 800 number to

       find out if anything else could be done. They sent a representa-

       tive, William Cowen, to check the car over. She stated that

       Brown Mazda then informed her that the noise was from the ABS

       braking system and "there was suggestion made I bring the car

       back in." Appellant stated that she no longer trusted the car

       and in December 1991, she parked it and has not driven it since.

       On January 23, 1992, her attorney sent a revocation of acceptance

       letter to Mazda, Brown Mazda and the other named defendants.

                 On cross-examination, appellant acknowledged that she

       never had any problem coming to a complete stop in the car, that

       the brakes never failed, and that the brakes never caused her to

       lose control of the vehicle. She stated that no one ever told

       her if the car was safe or unsafe but she did not want to drive

       the car. When asked if it was true that Cowen and Mazda offered

       to replace the ABS pump she replied "ttlhere was an attempt to

       make another appointment. I'm not -- I assume that's what they

       intended to do." As to the water in her trunk, she stated that

       4.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 23 of 97 Page ID
                                  #:1909




     there was a plug found to be missing and that it was replaced.

     She stated that she did not hear the grinding noise each and

     every time she applied the brake and that she never saw the ABS

     warning light on the dash go on. When asked if the brake

     problems ever impaired the use of the vehicle, appellant

     responded "(t)here's times they grabbed. They grabbed real hard

     and real quick. But, no, I never hit anybody and no one hit me."

     Appellant also testified that although she continued to drive it

     despite the noises, she was concerned about the safety of the

     vehicle.

                The defense called William Cowen, district service

     manager for Mazda Great Lakes, who testified that he has been a

     certified technician for fifteen years and that he was called in

     to assist in resolving appellant's repair problems. He stated

     that he first inspected her Mazda 626 on December 16, 1991 when

     he test drove it and was able to hear the noise from under the

     hood but never heard the grinding sound. In response, he told the

     service manager to advise appellant that Mazda was willing to

     replace the ABS hydraulic pump to correct the problem. He stated

     that he also inspected the brake pads but found nothing wrong.

     In August 1992, he tested the vehicle a second time and did

     notice brake noise but attributed it to rust build-up on the

     rotors because the car had been sitting outside for some time and

     5.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 24 of 97 Page ID
                                  #:1910




       the noise disappeared after the first one hundred to one hundred

       fifty feet. He testified that to a reasonable degree of

       professional certainty based on his training, knowledge and

       expertise, neither the buzzing noise, the grinding noise, nor the

       ABS hydraulic pump, substantially impaired the value, safety or

       use of the vehicle. He stated that even if there was an ABS

       system failure the car's normal braking system would bring the

       car to a stop and that he believed the car was safe to drive. He

       testified that appellant decided not to have anything further

       done on the vehicle.

                 The defense also called Rick Hansen, service manager

       for Brown Mazda, who testified that he had been involved with the

       service of appellant's 1991 Mazda from the time she purchased the

       vehicle. Hansen related the service history and acknowledged

       that all of the service on appellant's vehicle was performed

       pursuant to the warranty terms and conditions. He stated that he

       felt that the vehicle was safe to drive and fit for its intended

        use and that the value was not substantially impaired.

                  At the conclusion of the evidence the court gave

        counsel for both sides the opportunity to review its proposed

        jury instructions and interrogatories. Appellant's trial counsel

        objected to several portions of the jury instructions and to

        interrogatories three through five. He requested that, in


        6.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 25 of 97 Page ID
                                  #:1911




     accordance with R.C. 1345.72, the words "to the Plaintiff" be

     added after any language in the instructions and interrogatories

     that asked the jury to consider whether the defect or condition

     substantially impaired the use, value, or safety of the Mazda.

     The court overruled appellant's objections based on the defini-

     tion of "nonconformity" as set forth in R.C. 1345.71(E).

     Following closing arguments, the jury was charged on the Lemon

     Law, in relevant part, as follows:

               "If a new car has a defect or condition which
               substantially impairs its use, value or
               safety, and the buyer reports this either to
               the manufacturer, its agent or its authorized
               dealership one year from date of delivery or
               during the first 18,000 miles, then the
               manufacturer, its agent or dealer must repair
               the nonconformity.

               "Now, a nonconformity is any defect or
               condition which substantially impairs the
               use, value or safety of an automobile.

               "If the manufacturer, its agent or dealer
               fails to repair a nonconformity in a reason-
               able number of repair attempts, the manu-
               facturer must at the buyer's option replace
               the car with a new one acceptable to the
               buyer or accept a return of the vehicle from
               the buyer and refund each of the following:

                **   *

               "The lemon law presumes that a reasonable
               number of repair attempts have been made by
               the manufacturer, its agent or dealer if
               during the first year or 18,000 miles of
               driving any of the following apply:



     7.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 26 of 97 Page ID
                                  #:1912




                 "First, substantially the same nonconformity
                 exists after a car has been subject to repair
                 three or more times; two, the car is out of
                 service for repair for 30 or more calendar
                 days; or, three, there have been eight or
                 more attempts to repair any nonconformity
                 that substantially impairs the use and value
                 of the car to the buyer.

                 "If you find by a preponderance of the
                 evidence that Linda Brinkman's Mazda 626 had
                 any defect or condition that substantially
                 impaired its use, value or safety and if you
                 find that defendants were given reasonable
                 opportunity to repair the defect or condi-
                 tion, then you must find in favor of Plain-
                 tiff Linda Brinkman.

       The jury was also given the following interrogatories:

                 "INTERROGATORY NO. 3

                 "Was there any defect or condition which
                 substantially impaired the use of the Mazda
                 626 bought by plaintiff?

                 "INTERROGATORY NO. 4

                 "Was there any defect or condition which
                 substantially impaired the value of the Mazda
                 626 bought by plaintiff?

                 "INTEPROGgTORy_NQ,a

                 "_was there any defect or condition which
                 substantially impaired the safety of the
                 Mazda 626 bought by plaintiff?"

                 The case was submitted to the jury, which returned a

       verdict in favor of Appellee Mazda on the Lemon Law claim. It is

       from the trial court's ruling on the objections to the jury




       8.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 27 of 97 Page ID
                                  #:1913




     instructions and interrogatories that appellant has filed this

     appeal.

               This court will address appellant's assignments of

     error together since the arguments presented therein raise a

     single issue: whether the court should have instructed the jury

     to consider the Lemon Law claim from the perspective of the

     consumer by including the language "to the consumer" or "to the

     plaintiff" in its instructions and interrogatories that directed

     the jury to consider whether a defect or condition existed that

     substantially impaired the use, value, or safety of the vehicle.

     Appellant argues that both the jury instructions and the jury

     interrogatories failed to ensure that the jury would undertake a

     subjective analysis as required by the applicable statute.

     Appellant submits that in determining whether a nonconformity

     "substantially impairs the use, value, or safety of a motor

     vehicle" the jury should focus on the perspective and perception

     of the consumer and that the trial court, in denying appellant's

     request to add the words "to the Plaintiff" after the operative

     phrases, failed to give effect to R.C. 1345.71, fig_

               Appellee responds that the unambiguous definition of

     "nonconformity", as set forth in R.C. 1345.71(E), does not impose

     a subjective standard for determining whether a valid claim

     exists, and the trial court's instructions and interrogatories

     9.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 28 of 97 Page ID
                                  #:1914




       properly mirrored that definition. Appellee argues that a purely

       subjective standard would eliminate the need for a jury because

       any claim of substantial impairment by the consumer would qualify

       as a nonconformity.

                  Ohio's Lemon Law was enacted in 1987 to provide an

       additional and more comprehensive remedy to consumers who

       purchase defective automobiles. See Comments, 4hiO'S Lemon Law:

       Ohio o~n$ the_Rest of the Nation in Waging War Against tha

             mobile Limited Warranty (1989), 57 U. Cin. L. Rev. 1015,

       1027. Prior to its enactment, consumer's had to resort to the

       technical and often inadequate remedies provided in the Uniform

       Commercial Code.

                   In order to determine whether appellant, as a consumer

       implementing the protections afforded under Ohio's Lemon Law, was

       entitled to have the jury consider her claims from the perspec-

       tive of appellant herself, this court must carefully examine the

       language and meaning of R.C. 1345.71, et seq. R.C. 1345.72

       states in pertinent part:

                   "(A) If a new motor vehicle does not conform
                   to auy_.gpplicable .exp=ss warranty and tha
                   consumer reports the nonconformity to the.
                   dealer during the period of one year follow-
                   ing the date of original delivery or during
                   the first eighteen thousand miles of opera-
                   tion, whichever is earlier, the manufacturer.
                   its agent. or its authorized dealer shall
                   rilakelayrapairBaoarassuy_to_s,anf orm

       10.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 29 of 97 Page ID
                                  #:1915




                  tjaayehicletQsuQbQ2care           aty,
                  notwithstanding the fact that the repairs are
                  made after the expiration of the appropriate
                  time period.

                  "(13) If112ManMia=lier—it-s agent, or its
                  authorized dealer is unable to conform the
                  mtnrvabicag—taclay-c1Z/LiCableeW
                  Karrarte-Y12Y-=
                  defect or condition taal_substaatially
                                             value
                  vehicle to the consumer after a reasonable
                  number of repair attempts, tha_manafActurer
                  shall_„_arJth coasumer's option, and subject
                  to division (D) of this section repLaQa_tha
                  motor vehicle with a new motor veh_icle
                                      _galammer or accept return
                  of the vehicle from the consumer and refund
                  each ot, the following: ***" (Emphasis
                  added.)

                  R.C. 1345.72(A) protects the purchaser of a new motor

      vehicle by imposing a duty on the manufacturer, its agent, or its

      authorized dealer to repair the motor vehicle if (1) that motor

      vehicle does not conform to any applicable express warranty and

      (2) the consumer reports the nonconformity to the the proper

      authority within the specified time limits.        As used in R.C.

      1345.72(A), "'[n]onconformity' means any defect or condition

      which substantially impairs the use, value, or safety of the

      motor vehicle and does not conform to the express warranty of the

      manufacturer or distributor."     R.C.1345.71(E)    A consumer meets

      the burden under R.C.1345.72(A) by presenting evidence from which

      a reasonable inference can be made that a specific problem with

      the vehicle is due to a defective part which is covered by

      warranty.    Reddin v Toyota Motor Distribs.. Inc. (February 22,


      11.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 30 of 97 Page ID
                                  #:1916




       1991), Wood App. No. WD-90-2, unreported.   Problems accredited

       to the normal usage of an automobile or those outside any

       reasonable person's notion of what constitutes an actionable

       claim are eliminated because the defect or condition must be one

       that does not conform to any applicable express warranty. R.C.

       1345.72(A); Lyons v. Cross Rds. Lincoln-Mercury, Inc. (1990), 61

       Ohio Misc.2d 180; Smith v. Toyota (February 24, 1994), Scioto

       App. No. 2139, unreported.

                  R.C. 1345.72(B) provides that if the manufacturer, its

       agent, or its authorized dealer is.nable, after a reasonable

       number of repair attempts, to repair or correct a defect or

       condition that "substantially impairs the use, safety, or value

       of the motor vehicle to the consumer", then the manufacturer

       shall either replace or accept the return of the motor vehicle in

       accordance with the terms set forth in the statute. (Emphasis

       added.)

                 Upon consideration of the foregoing, this court finds

       that (1) the clear and unambiguous language of R.C. 1345.72(B)

       requires that the determination as to whether the impairment in

       the vehicle's use, safety, or value is deemed substantial

       necessarily depends on an examination of the consumer's perspec-

       tive; and (2) the court erred by not including the language "to

       the consumer" or "to the plaintiff" in its instructions and

       interrogatories that directed the jury to consider whether a


       12.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 31 of 97 Page ID
                                  #:1917




      defect or condition existed that substantially impaired the use,

      value or safety of the vehicle.

                Since the trial court herein did not so instruct the

      jury, we must now determine whether or not that failure con-

      stitutes reversible error. "A charge to the jury should be a

     plain, distinct and unambiguous statement of the law as applica-

     ble to the case made before the jury by the proof adduced."

      Marshall_y_athson (1985), 19 Ohio St.3d 10, 12, citing Parmlee

      v. Adolph (1875), 28 Ohio St. 10, paragraph two of the syllabus.

            [A]n incomplete charge will constitute grounds for reversal

     of a judgment where the charge as given misleads the jury."

            __, •SU12ra, at 12.
     Marahaii                     Jury instructions must be veiwed in

     their totality, and if the law is clearly and fairly expressed a

     reviewing court should not reverse a judgment based upon an error

     in a portion of a charge. Margroff v. Cornwell Ouality Tools.

      Inc„. (1991), 81 Ohio App.3d 174, 177; Yeager v. Riverside

      Methodist Rosa._ (1985), 24 Ohio App.3d 54, 55.

                As to the trial court's rejection of appellant's

      proposed jury interrogatories, "(t)he wording of Civ.R. 49(B),

      that the 'court shall submit written interrogatories *** upon

      request of any party,' is mandatory in character and leaves no

      discretion in the trial court on the question of submission, upon

      request, of proper interrogatories to the jury. The rule,

      however, reposes discretion in the court to pass upon the content


      13.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 32 of 97 Page ID
                                  #:1918




       of requested interrogatories as they 'shall be submitted to the

       jury in the form the court approves.'" Risley v, Cincinnati_.

       (1976), 46 Ohio St.2d 287, 298, citing Ragone v. Vitali

       Beltrami. Jr.. Inc. (1975), 42 Ohio St.2d 161, 165. Jury

       interrogatories serve to test the correctness of the general

       verdict by eliciting from the jury its assesment of the

       determinative issues presented in a given case in the context of

       the evidence presented at trial.      qintiathRijrerixQntcaliamm_
             v McNulty Co. (1986), 28 Ohio St.3d 333, 336-37; pavison v.

       Flowers (1930), 123 Ohio St. 89.

                 In this case, the jury instructions, when viewed as a

       whole and considered with the interrogatories, were incomplete

       statements of the applicable law and on the issues raised at

       trial. As set forth above, R.C. 1345.72(B) requires that the

       consumer's persepective be taken into consideration. The

       testimony at trial included statements made by appellant that her

       confidence in the vehicle's safety had diminished, thereby

       causing a diminution in the vehicle's value to her.

                 Upon consideration of the entire record of proceedings

       before the trial court and the law as set forth above, this court

      finds that appellant was prejudiced by the trial court's failure

       to inform the jury that the perspective of the consumer should be

       taken into account when determining whether the defect or

       condition she complained of substantially impaired the vehicle's


       14.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 33 of 97 Page ID
                                  #:1919




     use, safety or value. Accordingly, appellant's two assignments

     of error are found well-taken.

               Upon consideration whereof, this court finds that

     substantial justice has not been done the party complaining, and

     the judgment of the Lucas County Court of Common Pleas is hereby

     reversed and the case is remanded for a new trial. Court costs

     are assessed to appellee.


                                                  JUDGMENT REVERSED.



               A certified copy of this entry shall constitute the
     mandate pursuant to App.R. 27. See, also, 6th Dist.Loc.App.R. 4,
     amended 7/1/92.



     Peter M. Handwork, J.
                                                  JUDGE


     Charles D. AbQod~P.J.                        JUDGE
     CONCUR.
                                                  JUDGE




               'In the complaint appellant alleged the following
     causes of action: (1) breach of contract and express and implied
     warranties under Ohio law; (2) breach of express and implied
     warranties under the Magnuson-Moss Act; (3) unfair, deceptive,
     and unconscionable selling practices in violation of the Ohio's
     Consumer Sales Practices Act; (4) fraud; (5) negligence;
     (6) strict liability; (7) breach of contract; and (8) violations
     of Ohio's Nonconforming New Motor Vehicle Law, known as the
     "Lemon Law."




      15.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 34 of 97 Page ID
                                  #:1920




                        EXHIBIT 0
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 35 of 97 Page ID
                                  #:1921



   PIF Number:   110002077

   Case Name:    IBELLINGER V. HEWLETT-PACKARD COMPANY



   Case Number: 120744
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 36 of 97 Page ID
                                  #:1922
        [Cite as Bellinger v. Hewlett-Packard Co., 2002-Ohio-1643.]




        STATE OF OHIO                                 IN THE COURT OF APPEALS
                                    )ss:              NINTH JUDICIAL DISTRICT
        COUNTY OF SUMMIT

        PHYLLIS M. BELLINGER

              Appellant

               v.

        HEWLETT-PACKARD COMPANY                                RECEIVED
                                                         ATTORNEY GENERAL OF OHIO
              Appellee
        C.A. No.     20744                                     APR 2 5 2002

                                                             M PROTEC1ION SECTION
                                                       CONSUMER
                                                           PUBUC INSPECTION FILE
        APPEAL FROM JUDGMENT
        ENTERED IN THE
        COURT OF COMMON PLEAS
        COUNTY OF SUMMIT, OHIO
        CASE No. CV 2000 12 5786

                                DECISION AND JOURNAL ENTRY

        Dated: April 10, 2002

               This cause was heard upon the record in the trial court. Each error assigned has

        been reviewed and the following disposition is made:




               WHITMORE, Judge.

               {¶1} Plaintiff-Appellant Phyllis M. Bellinger has appealed from an order of the

        Summit County Court of Common Pleas that dismissed her complaint against Defendant-
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 37 of 97 Page ID
                                  #:1923
                                                   2


  Appellee Hewlett-Packard Co. ("HP") for failure to state a claim upon which relief can

  be granted. This Court affirms.

                                                   I

         {P} HP manufactures and sells inkjet printers. HP also separately sells

  replacement ink cartridges to service its printers, which come with a variety of features

  and contain different amounts of ink.

         {¶3} With each inkjet printer it sells, HP includes one black and one color ink

  cartridge. Beginning in 1998, HP began including with certain of its low-end inkjet

  printers what it has called "economy" cartridges. The distinguishing feature of these

  economy cartridges is that they contain approximately one-half the volume of ink as HP's

  "large" replacement cartridges.

         {¶4} The ink cartridges that HP provided with its printers did not come installed

  in the hardware, but were included in self-contained packages inside the printer boxes.

  The packaging containing the cartridges described their contents as economy cartridges.

  The outside of the printer box, however, as well as HP's marketing and promotional

  materials, stated only that ink cartridges were included; they did not describe the ink

  cartridges as economy cartridges.

          PP) In December 1999, Appellant purchased a IIP inkjet printer which

  included an economy ink cartridge. Appellant thereafter filed a complaint against HP

  seeking certification of a statewide class consisting of purchasers of HP products which

  included the economy ink cartridges. Appellant's complaint asserted causes of action

  based on fraud, violations of the Consumer Sales Practices Act (R.C. 1345.01 et seq.)

  ("CSPA"), and negligent misrepresentation. Appellant alleged that HP unlawfully

                            Court of Appeals of Ohio, Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 38 of 97 Page ID
                                  #:1924
                                                          3


        concealed that the ink cartridges it included with its printers were economy cartridges or

        otherwise contained less than a "full" amount of ink. HP responded by filing a motion to

        dismiss Appellant's complaint pursuant to Civ.R. 12(B)(6) for failure to state a claim

        upon which relief can be granted. The trial court granted HP's motion to dismiss the

        complaint. Appellant has timely appealed, asserting one assignment of error.

                                                          II

                                             Assignment of Error

               116) The trial court erred in granting [HP's] motion to dismiss,
        including, but not limited to, in:

               {¶r} A. Finding that HP made no affirmative misrepresentation
        regarding the amount of ink in its print cartridges included with its low-end
        printers.

                (1118) B. Finding that an affirmative misrepresentation is necessary
        for a violation of the CSPA.

               119) C. Finding that [Appellant] failed to set forth a claim under
        the consumer sales protection act.

               (1110) D. Finding that [Appellant] failed to plead her fraud claim
        with sufficient particularity.

                (¶11) This Court reviews an entry of dismissal under Civ.R. 12(B)(6) de novo.

        Hunt v. Marksman Prod., Div. of S/R Industries, Inc. (1995), 101 Ohio App.3d 760, 762,

        appeal not allowed (1995), 73 Ohio St.3d 1427. "In order for a court to dismiss a

        complaint for failure to state a claim upon which relief can be granted (Civ.R. 12(B)(6)),

        it must appear beyond doubt from the complaint that the plaintiff can prove no set of facts

        entitling him to recovery." O'Brien v. University Community Tenants Union (1975), 42

        Ohio St.2d 242, syllabus. For purposes of ruling upon a Civ.R. 12(B)(6) motion, the trial




                                   Court of Appeals of Ohio, Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 39 of 97 Page ID
                                  #:1925
                                                    4


  court must accept all factual allegations as true and make every reasonable inference in

  favor of the nonmoving party. Shockey v. Wilkinson (1994), 96 Ohio App.3d 91, 94.

                                    Appellant's CSPA Claim

         {¶12} "(5) Appellant's complaint alleged that HP violated R.C. 1345.02, which

  provides:

          {¶13} "(A) No supplier shall commit an unfair or deceptive act or
  practice in connection with a consumer transaction. Such an unfair or deceptive
  act or practice by a supplier violates this section whether it occurs before, during,
  or after the transaction.

          {¶14} "(B) Without limiting the scope of division (A) of this section, the
  act or practice of a supplier in representing any of the following is deceptive:

         {¶15) "(1) That the subject of a consumer transaction has sponsorship,
  approval, performance characteristics, accessories, uses, or benefits that it does
  not have;

         {¶16} "(2) That the subject of a consumer transaction is of a particular
  standard, quality, grade, style, prescription, or model if it is not;
                                                        ***

          {1[17) (6) That the subject of a consumer transaction will be supplied in
  greater quantity than the supplier intends[.]"

         {1[18) Appellant's complaint also alleged that HP violated R.C. 1345.03, which

  provides:

                       (A) No supplier shall commit an unconscionable act or
                           practice in connection with a consumer transaction.
                           Such an unconscionable act or practice by a supplier
                           violates this section whether it occurs before, during, or
                           after the transaction.

         {¶19} HP has argued that Ohio law requires an affirmative representation of

  some inaccurate or false information in order for a claim to be actionable under the

  CSPA. See Lintermoot v. Brown (Aug. 2, 1988), Van Wert App. No. 15-86-25,



                             Court of Appeals of Ohio. Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 40 of 97 Page ID
                                  #:1926
                                                          5


        unreported, 1988 Ohio App. LEXIS 3065. Appellant, on the other hand, has contended

        that a knowing failure to disclose material information can constitute a deceptive act or

        practice under the CSPA. See Swiger v. Terminix Int'l Co. L.P. (June 28, 1995),

        Montgomery App. No. 14523, unreported, 1995 Ohio App. LEXIS 2826. This Court

        declines to hold, as HP has urged, that a failure to disclose information in the absence of

        an affirmative representation that is false or inaccurate can never give rise to an

        actionable claim under the CSPA. Even accepting all the factual allegations in

        Appellant's complaint as true, however, we conclude that neither the affirmative

        representations nor any unstated implications made by HP with respect to its ink

        cartridges support a claim that HP engaged in deceptive or unconscionable acts or

        practices under R.C. 1345.01 et seq.

               (41120) It is undisputed that the outside of the printer box and the promotional and

        advertisement materials disseminated by HP represented that printers of the type

        purchased by Appellant included ink cartridges, and that ink cartridges were in fact

        included with the printers. Appellant's complaint, however, alleges that HP's failure to

        describe the ink cartridges included with its printers as "one-half full," "starter

        cartridges," or "economy cartridges" was a deceptive and unconscionable practice under

        the CSPA. The gravamen of Appellant's allegations is that HP's statement that ink

        cartridges were included with its printers constitutes a half-truth — that is, a statement

        true on its face that nevertheless implies in the mind of the prospective purchaser a belief

        that is not in accord with the facts. See, e.g., State ex rel. Brown v. Bredenbeck

        (C.P.1975), 2 0.0.3d 286, 287. Specifically, Appellant's complaint alleges that HP's

        representation that its printers included ink cartridges implied in the mind of the

                                   Court of Appeals of Ohio, Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 41 of 97 Page ID
                                  #:1927
                                                        6


  consumer that the ink cartridge would be a large—what Appellant has called a "full"

  cartridge.

         {41121} Appellant has consistently described the ink cartridges provided by HP as

  "half-full," which is accurate inasmuch as the economy cartridge contained

  approximately one-half the quantity of ink as the large cartridge. The "half-full"

  description, however, falls short of establishing that the statement "ink cartridge

  included" implies in the mind of the consumer a belief that is not in accord with the facts.

  If the statement "ink cartridge included" implied in the mind of the consumer that a full

  ink cartridge must be included, the amount of ink would only be important as a measure

  of how "empty" of ink the cartridge was.' Whether HP's representation that ink

  cartridges were included with its printers is deceptive or unconscionable, however,

  cannot depend upon a measure of the unfilled volume of the cartridge, irrespective of the

  quantity of ink it contains.

          {¶22) Appellant has also phrased HP's allegedly deceptive conduct as

  "misleading- consumers into believing that "the cartridges had the standard amount of

  ink." Appellant's complaint, however, has failed to allege any basis for the conclusion




    Thus, under Appellant's -half-full- theory, if FTP supplied printer cartridges that
  were five times the size of the large cartridges yet were only half full of ink, its
  representation would still he a half-truth because the expectation that a full printer
  cartridge would be supplied had not been met. Conversely, if HP included ink
  cartridges that were one-fifth the size of the economy cartridge but were full of
  ink, HP's representation would not be a half-truth.

                                 Court of Appeals of Ohio. Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 42 of 97 Page ID
                                  #:1928
                                                          7


        that "ink cartridge" implies in the mind of the consumer a "standard amount" of ink, or to

        identify what quantity of ink constitutes a "standard amount."2

               {¶23} Appellant has also argued that IIP's representation that its printers

        included ink cartridges implied that the cartridges would be the large, rather than the

        economy, cartridges sold by HP as replacements. Again, however, Appellant has failed

        to allege any basis for her contention that consumers were somehow entitled to large

        rather than economy cartridges, when both sizes were marketed and sold by HP as

        replacement cartridges for its printers. The mere fact that HP once included large

        cartridges in all its printers cannot reasonably be interpreted by Appellant to mean that

        HP's later inclusion of economy cartridges with its inexpensive line of printers is

        deceptive or unconscionable.

               {¶24} Appellant has also argued that HP's use of the word "economy" to

        describe the cartridges with the lesser amount of ink constitutes a deceptive or

        unconscionable practice. The crux of Appellant's objection to HP's use of the word

        "economy" is that products labeled "economy" are understood to provide more volume

        per dollar than "standard" or "large" products, whereas HP's economy cartridges provide

        less ink than its large cartridges. Appellant relies upon a Federal Trade Commission

        ("FTC") regulation, 16 C.F.R. 502.102, which describes the manner in which the term



        2Ink cartridges differ in this respect from items that are by definition sold with
        readily quantifiable specifications, such as a gallon of milk or a 60-watt light bulb.
        An analogue better suited to the ink cartridge is the batteries sometimes included
        with battery-operated consumer devices. Although the consumer might desire
        brand-name, alkaline batteries, the representation that "batteries are included" is



                                   Court of Appeals of Ohio. Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 43 of 97 Page ID
                                  #:1929
                                                     8


  "economy size" may be used on certain consumer commodities. However, the FTC's

  own interpretive bulletins and subsequent regulations explicitly exclude ink-related

  products from the "consumer commodities" to which the regulation applies. See 16

  C.F.R. 503.5(d); 16 C.F.R. 503.2(a). Moreover, Appellant's complaint alleges — and the

  entirety of the CSPA claims in her complaint are based upon the fact — that the outer

  packaging of the printers and HP's promotional materials omit the modifier "economy" in

  describing the included ink cartridges. The word "economy" appeared only on the

  packaging of the individual cartridges inside the printer box, where a consumer would

  only find it after he had purchased and removed the printer from its packaging.

         {¶25} Finally, Appellant has devoted a significant portion of her brief to her

  argument that the CSPA claims in her complaint meet the statutory requirements to

  proceed as a class action. The trial court, however, found that Appellant's failure to state

  a CSPA claim upon which relief can be granted as an individual rendered unnecessary

  any consideration of whether Appellant's claims are properly maintainable as a class

  action. Accordingly, the class action question is not properly before, and will not be

  addressed by, this Court.

         {¶26} Even accepting all the factual allegations in Appellant's complaint as true

  and drawing every reasonable inference in favor of Appellant, this Court concludes that

  Appellant's complaint fails to state a claim upon which relief can be granted pursuant to

  R.C. I 345.02(A) or R.C. 1345.03(A). MP's representation that its printers included ink

  cartridges was true on its face. Moreover, Appellant's complaint fails to state any



  not a half-truth if the consumer instead receives generic batteries with a shorter

                              Court of Appeals of Ohio, Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 44 of 97 Page ID
                                  #:1930
                                                          9


        reasonable basis for its conclusion that HP's undisputedly true representation could imply

        in the mind of the consumer a belief that the cartridges would contain more ink than HP

        in fact supplied — i.e., was a half-truth. Accordingly, the trial court properly dismissed

        Appellant's claim for alleged violations of the CSPA for failure to state a claim upon

        which relief can be granted.

                                          Appellant's Fraud Claim

               {¶27} Appellant has dedicated the balance of her brief to arguing that the trial

        court erred in finding that Appellant failed to plead her fraud claim with sufficient

        particularity. Appellant has contended that her complaint both states a claim for fraud

        under Ohio law, and pleaded the allegations of fraud with particularity as required by

        Civ.R. 9(B).

               {¶28} In order to maintain an actionable claim for fraud, a plaintiff must

        establish the following elements:

               (a)     a representation or, where there is a duty to disclose, concealment of a
               fact,

               (b)     which is material to the transaction at hand,

               (c)    made falsely, with knowledge of its falsity, or with such utter disregard
               and recklessness as to whether it is true or false that knowledge may be inferred,

               (d)     with the intent of misleading another into relying upon it,

               (e)     justifiable reliance upon the representation or concealment, and

               (f)     a resulting injury proximately caused by the reliance.




        life expectancy.

                                   Court of Appeals of Ohio, Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 45 of 97 Page ID
                                  #:1931
                                                   10


         {¶29} Burr v. Stark Cry. Bd. of Commrs. (1986), 23 Ohio St.3d 69, paragraph

  two of the syllabus. In addition, plaintiffs in Ohio must plead with particularity their

  allegations of fraud:

          {41[30) In all averments of fraud or mistake, the circumstances constituting
  fraud or mistake shall be stated with particularity. Malice, intent, knowledge, and
  other condition of mind of a person may be averred generally.

         {¶31} Civ.R. 9(B). The requirements of Civ.R. 9(B) are satisfied if the

  plaintiff's complaint specifies "(1) [the] specific statements claimed to be false; (2) the

  time and place the statements were made; and (3) which defendant made the false

  statements." Pollock v. Kanter (1990), 68 Ohio App.3d 673, 681-682.

          (1132) In the instant case, Appellant has failed to identify any false or fraudulent

  representation made by HP. The only representation that Appellant's complaint alleges

  that HP made was that ink cartridges were included with its printers. This representation,

  however, was not false; it was true.

          {¶33} Nor can "concealment of a fact" form the basis of Appellant's fraud claim,

  because Appellant does not allege any cognizable duty on the part of HP to disclose any

  facts about its ink cartridges. Sec Fed. Mgt. Co. v. Coopers & Lybrand (2000), 137 Ohio

  App.3d 366, 383, appeal not allowed (2000), 90 Ohio St.3d 1424 ("[A] duty to disclose is

  a requirement if concealment of fact is alleged as a basis for fraud.-). Appellant's

  complaint does not allege, for example, that any special or fiduciary relationship existed

  between HP and herself or other consumers that would give rise to a duty to disclose.

  See Federated Mgt., 137 Ohio App.3d at 383 ("[T]he duty to disclose arises when one

  party has information that the other party is entitled to know because of a fiduciary or

  other similar relation of trust and confidence between them.").

                             Court of Appeals of Ohio, Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 46 of 97 Page ID
                                  #:1932
                                                         11


                (1134) Finally, HP's unqualified representation that "ink cartridges are included"

        cannot itself be construed as imposing upon HP a duty to further describe the cartridges

        as economy cartridges, because HP's representation was not a half-truth. As discussed

        supra, HP's representation that ink cartridges are included is not rendered untrue or

        misleading by HP's omission of the fact that the ink cartridges included were economy

        cartridges.

                {¶35} Even accepting all the factual allegations in Appellant's complaint as true

        and drawing every reasonable inference in favor of Appellant, therefore, Appellant's

        complaint fails to state a claim for fraud upon which relief can be granted. The trial court

        properly dismissed Appellant's claim for fraud for failure to plead with sufficient

        particularity any false or fraudulent representations made by HP.

                                                         III

                {¶36} Appellant's sole assignment of error is overruled. The judgment of the

        trial court is affirmed.

                                                                                       Judgment affirmed.



                                                                                       BETH WHITMORE
                                                                                        FOR THE COURT


        BAIRD, P. J.
        BATCHELDER, J.
        CONCUR

        APPEARANCES:

        A. RUSSELL SMITH and R. BRYAN NACE, Attorneys at Law, 159 S. Main St., Suite
        503, Akron, Ohio 44308, for Appellant.


                                   Court of Appeals of Ohio, Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 47 of 97 Page ID
                                  #:1933
                                               12


  MARY M. BITTENCE and MARCIA E. MARSTELLER, Attorneys at Law, 3200
  National City Center, 1900 East 9th St., Cleveland, Ohio 44114, for Appellee.




                         Court of Appeals of Ohio, Ninth Judicial District
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 48 of 97 Page ID
                                  #:1934




                         EXHIBIT P
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 49 of 97 Page ID
                                  #:1935


  [Cite as Borror v. MarineMax of Ohio, Inc.., 2007-Ohio-562.1


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                                                                               ATTORNEY GENERAL OF OHIO

                                                                                         FEB 12 2007

                                                              CONSUMER PROTECTION SECTION
                              IN THE COURT OF APPEALS OF OHIO     PUBLIC INSPECTION FILE
                                  SIXTH APPELLATE DISTRICT
                                      OTTAWA COUNTY


  Douglas G. Borror                                          Court of Appeals No. OT-06-010

          Appellee                                           Trial Court No. 03-CVH-130

 V.

 MarineMax of Ohio, Inc., et al.                             DECISION AND JUDGMENT ENTRY

          Appellant                                          Decided: February 9, 2007

                                                   *****

          James E. Arnold and James G. Vargo, for appellee.

         Irene C. Keyse-Walker, Karl A. Bekeny, David Cooper, and
         Jeffrey D. Smith, for appellant.




 GLASSER, J.

         {If 1} This is an appeal from a judgment of the Ottawa County Court of Common

 Pleas that found in favor of appellee on his claims for fraud and violations of the Ohio

 Consumer Sales Practices Act. For the following reasons, the judgment of the trial court

 is affirmed in part and reversed in part.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 50 of 97 Page ID
                                  #:1936




         {II 2} The facts giving rise to this appeal reach back nearly six years. Following

  are the undisputed facts relevant to the issues raised on appeal. In May 2001, a 51-foot

  Sea Ray 510 luxury motor boat was delivered from the factory to appellant MarineMax

 of Ohio, Inc. ("MarineMax"). Several weeks later, one of appellant's employees took the

 boat out for a "sea trial" and ran the boat into a reef. Appellant immediately returned the

  boat to the Sea Ray factory in Florida to be repaired. Sea Ray made repairs costing more

 than $76,000 and returned the boat to MarineMax in September 2001. MarineMax

 inspected the boat, determined that it had been repaired satisfactorily, and placed it in

 winter storage. In April 2002, while the boat was still in storage, Karl Oreskovich,

 appellant's service manager, noticed cracking in the gel coat of the engine "stringers."

 According to testimony at trial, "stringers" are the "backbone" of a boat; they run parallel

 to the center line of the boat and are fastened to the bottom, providing reinforcement and

 rigidity. Oreskovich contacted Sea Ray, and the manufacturer arranged for the boat to be

 repaired locally. Sea Ray was billed $22,507 for those repairs. The boat was returned to

 MarineMax and cleared for sale in July 2002.

        {11 3} On Friday, August 2, 2002. appellee Douglas Borror, an experienced

 boater, visited MarineMax and took the 51-foot Sea Ray 510 for a test ride. Afterward,

 salesman Mark Walker told Borror the boat had been damaged during its initial sea trial

 and repaired and was therefore offered with an extended warranty. The parties disagree

 as to how much detail Walker gave Borror about the extent of the damage and how it

 occurred. Borror testified he was told the boat "hit a can" (buoy) by the reef. Salesman
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 51 of 97 Page ID
                                  #:1937




  Walker testified he told Borror the boat hit the reef by the buoy. Upon learning of the

  damage, Borror indicated he wanted to talk to Oreskovich about the boat's condition.

  Oreskovich was on vacation, however, and the parties again disagree as to whether

  Borror talked to him that day or the next. Nevertheless, within an hour of speaking to

  Oreskovich, Borror agreed to purchase the boat. On August 9, 2002, Borror purchased

  the boat for $780,151.83 (including tax). Along with other purchase documents, Borror

 was asked to sign a document captioned "Disclosure Acknowledgement" which stated:

        {¶ 4} "In conjunction with the purchase of the boat listed below, as the purchaser,

 I hereby acknowledge that the following history of this boat has been disclosed to me."

        If 5} After listing the boat's identification numbers, the document stated:

        fill 6} "* The boat sustained damage prior to my purchase.

        {117} "* The boat was returned to the manufacturer and repaired to factory

 specifications.

        {¶ 8} "* All normal factory warranties are in effect with a six (6) month

 extension of the Sea Ray limited warranty."

        fill 9} Appellant signed and dated the document. After the sale was completed,

 Borror took delivery of the boat and used it for approximately three weeks before putting

 it in dry storage for the winter.

        {¶ 10} Gregory Group, a marine surveyor who inspects boats to establish their

 condition and value, testified at trial that in October 2002, while he was surveying

 another boat stored near Borror's, he noticed that the boat was sagging slightly where the




 3.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 52 of 97 Page ID
                                  #:1938




  hull had been placed on a large wooden keel block. Group, apparently already aware of

 the boat's "history," suggested that more blocking be added. In January 2003, Borror

 hired South Shore Marine to wax the underside of his boat. Borror was contacted by an

 employee of South Shore Marine who told him that he found some problems with the

 bottom of the boat while waxing it. Borror immediately contacted Group, who told him

 that the boat had been grounded and severely damaged. He also told Borror that the

 boat's stringer system had suffered extensive damage and had undergone extensive

 repairs. Appellant maintains that this information contradicted what he had been told by

 Walker and Oreskovich.

           111 Borror then hired Group to perform a survey of the boat. Group inspected

 the boat on January 31, 2003. Based on his inspection and knowledge of the boat's repair

 history, Group prepared a seven-page report in which he noted, among other findings, six

 areas of "existing damage and/or extremely poor repair" to the exterior and interior hull;

 pockets of elevated moisture in the deck, and "copious" leaking of crankcase oil from the

 starboard engine, which he stated is unusual for an engine with little use but not unusual

 for an engine that has been run aground "at speed." Group offered his opinion that the

 true scope of structural damage had not been assessed because only those areas that were

 readily accessible in the engine compartment were inspected and repaired.

           12: Group concluded that the boat was not seaworthy or otherwise fit for use as

 a recreational sport yacht. He further stated that when Borror purchased the boat, it was

 worth only $300,000. This conclusion was based on the deficiencies outlined in the




 4.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 53 of 97 Page ID
                                  #:1939




  report, "* * * the wrecked and repaired condition of the hull, the failure of the repairs at

  the bottom and stern, and the necessary repairs to the stern platform/lift." Borror did not

  use the boat again.

            13} On March 17, 2003, Borror's legal counsel wrote a letter to MarineMax

  explaining that "because of the misrepresentations made concerning the quality and

  integrity of this boat, and its actual questionable safety," Borror was revoking his

  acceptance of the boat, making the boat available for MarineMax to take possession, and

  demanding a refund of the purchase price. In the alternative, Borror stated he was willing

  to select another boat of like quality from appellant's stock with the understanding that if

 the replacement boat cost less he would receive a refund for the difference between that

 price and what he paid for the Sea Ray 510.

         IT 14} Borror contends that MarineMax ignored his request, and on May 19, 2003,

 he filed a complaint against MarineMax and Mark Walker, the salesman who sold him

 the boat. (Borror's claims against Walker were eventually dismissed.) Borror asserted a

 claim for fraud, alleging that appellant knowingly made false representations regarding

 the damage to the boat and the repairs, and a claim alleging that MarineMax knowingly

 committed unfair, deceptive and unconscionable acts and practices in violation of the

 Ohio Consumer Sales Practices Act ("CSPA") in violation of R.C. 1345.01 et seq. Borror

 asserted a third count in which he claimed damages as a result of appellant's failure to

 honor his revocation of acceptance or refund the full purchase price as previously

 demanded.




 5.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 54 of 97 Page ID
                                  #:1940




         {irl 15} On June 12, 2003, MarineMax and Walker filed an answer denying liability

  and stating that full disclosure was made to Borror regarding 1he damage to the boat and

  subsequent repairs. They further denied that Borror's March 17, 2003 letter constituted a

  valid revocation of his acceptance of the boat.

         {1116} The record contains correspondence from appellant's counsel dated

  November 3, 2003, stating that it had hired its own surveyor, who indicated that the boat

 was seaworthy. MarineMax expressed its understanding that any further repairs that

 were necessary would be covered by the Sea Ray warranty. The company offered to do

 whatever was necessary to facilitate approval and completion of work done under that

 warranty and stated that its offer to complete all warranty work was unconditional and

 did not require Borror to release any of his legal claims. In a letter dated March 17, 2004,

 MarineMax again offered to handle the necessary repairs to the boat.

        {1[ 17} A three-day bench trial was held on May 2, 3, and 4, 2005. Pursuant to the

 court's request, the parties filed proposed findings of fact and conclusions of law on

 June 6, 2005. On September 12, 2005, the trial court filed its "Findings of Fact &

 Conclusions of Law; Order." The issues before the trial court were whether MarineMax

 violated the CSPA by engaging in deceptive acts and practices regarding the sale of the

 boat to Borror and whether MarineMax engaged in fraud and deception, intentionally

 misleading Borror as to the severity of the damages to the boat.

           18) First, the trial court concluded that MarineMax violated the CSPA and that

 Borror is entitled to treble damages. Specifically, the trial court found that MarineMax,




 6.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 55 of 97 Page ID
                                  #:1941




  "both implicitly and explicitly" represented that the vessel sustained only minor, non-

  structural damage and that Borror relied on the seller's assurances that the damage was

  minor. The trial court found that service manager Ken Oreskovich failed to tell Borror

  that the boat ran aground on a reef, sustained severe structural damage to its stringer

  system, and had undergone two rounds of repairs. The trial court further found that the

  Disclosure Acknowledgment did not set forth "critical facts" concerning the extent of the

  damage, how it occurred, and the repair history — information that would have put Borror

  on notice that additional investigation would be appropriate. The trial court concluded

  that the failure to disclose that information constituted a deceptive act. As to Borror's

  revocation of the sale, the trial court found that his actions were justified in so doing and

 that appellant's refusal to accept the revocation was an additional violation of the CSPA.

         fir 19} As to damages pursuant to the CSPA, the court found that Borror originally
 paid $780,151.83 for the boat and sold it in March 2004 for $350,000. The difference

 between those two figures ($430,151.83) was added to $54,439.44 which the trial court

 determined appellant incurred as expenses related to the boat, for a total of $484,591.27

 in actual damages. Three times the actual damages results in a total amount of

 $1,453,773.81.

        111201 The trial court further found that MarineMax engaged in common-law

 fraud and deception, intentionally misleading Borror as to the severity of the damage to

 the boat. The trial court found that Borror was entitled to punitive damages of

 $484,591.27., which is equal to the amount of actual damages, because the wrong




 7
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 56 of 97 Page ID
                                  #:1942




  committed was "conscious, deliberate, intentional, malicious, deceitful, and particularly

  gross and egregious."

         till 21} Additionally, the trial court determined that Borror was entitled to attorney

  fees under the CSPA and fraud claims and set the matter for hearing on October 10, 2005,

  to take evidence as to the work "reasonably performed" by Borror's attorneys.

           22} On February 15, 2006, the trial court filed its decision and order as to

 attorney fees and an order as to Borror's motion for prejudgment interest. Regarding

 attorney fees, the trial court reiterated its earlier finding that appellant knowingly

 committed an act or practice that violated the CSPA when it failed to disclose the extent

 of the structural damage to the boat and refused to accept appellee's revocation of the

 boat. The record reflects that Borror sought attorney fees of $181,850.75 and asked the

 trial court to modify the amount upward by the application of factors listed in DR 2-

 106(B) and the law set forth in Bittner v. Tri-County Toyota, Inc. (1991), 58 Ohio St.3d

 143. In its decision, the trial court noted that appellant did not object to the

 reasonableness of the hourly rates. expenses and number of hours charged, with the

 exception of $2,421 charged for paralegal work. The court also noted that appellant

 objected to the award being modified upward. The trial court concluded that Borror was

 entitled to charge for reasonable expenses related to the work performed by a paralegal.

 Additionally, the trial court modified the award of attorney fees that was based on the




 8.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 57 of 97 Page ID
                                  #:1943




  "lodestar"' amount upward by $240,000 for a total award, after reasonable expenses were

  added, of $484,727.43.

        {¶ 23} Finally, as to Borror's motion for prejudgment interest, on February 15,

 2005, the trial court found that Borror was entitled to prejudgment interest on the entire

 judgment, excluding punitive damages, to be calculated from the date the cause of action

 accrued to the date on which the judgment was rendered.

        (¶241 It is from the judgments summarized above that appellant now appeals,

 setting forth the following assignments of error:

        {II 25} "I. The trial court erred and misapplied Ohio's Consumer Sales Practices

 Act (CSPA) when it concluded that the plaintiff rescinded the sales contract but awarded

 trebled, contract damages.

              26}   The trial court erred and abused its discretion when it awarded

 attorney's fees under the CSPA; even if a reasonable attorney fee could be awarded, the

 trial court erred and abused its discretion when it awarded 'enhanced' fees exceeding

 $4.20,000.

        {111271 "III. The evidence is insufficient, as a matter of law, to support a claim of

 fraud, much less egregious fraud, punitive damages, and attorney's fees; even if supported

 by some evidence, the trial court's findings of fraud and egregious fraud are unsupported




         'The "lodestar" amount is the number of hours reasonably expended on the
 litigation multiplied by a reasonable hourly rate. In this case, the lodestar was
 $181,850.75.




 9.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 58 of 97 Page ID
                                  #:1944




  by the manifest weight of the evidence, and tainted by 'facts' that appear nowhere in the

  record.

            28} "IV. Alternatively, the trial court erred when it awarded punitive damages

  in addition to trebled damages, and after plaintiff abandoned his claim for punitive

 damages, and in its calculation of attorney's fees.

        {1129} "V. The trial court erred and abused its discretion when it awarded

 prejudgment interest."

        {¶ 30} Appellant presents two arguments in support of its first assignment of error.

 First, appellant asserts that the trial court erred by awarding contract damages because

 Borror had elected to void the contract in his March 17, 2003 letter to appellant.

 Appellant argues that Borror's actions in rescinding the purchase contract in his letter

 constituted a binding election of CSPA remedies and that he could not thereafter revive

 the contract and seek actual or treble damages.

            31} Appellant argues repeatedly that Borror rescinded the purchase contract.

 However, the record reflects only that Borror attempted to rescind; he demanded

 rescission in his March 2003 letter to appellant and appellant refused the request, offering

 to make further warranty repairs on the boat. By early 2003, Borror had already taken

 possession of the boat, paid for it and used it for three weeks. He did not return the boat

 or discontinue payment. When appellant refused to allow Borror to rescind, which was

 before the complaint was filed, Borror pursued recovery of his damages. At the time this

 matter went to trial. rescission was no longer an option or issue since Borror had sold the




 10.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 59 of 97 Page ID
                                  #:1945




  boat by then. Further, in its Proposed Findings of Fact and Conclusions of Law, ¶ 1,

  appellant stated that Borror had "voluntarily dismissed with prejudice his claim for

  revocation of acceptance of the boat * * * as originally set forth in his Complaint."

  Appellant also acknowledged that "during the trial of this action, Plaintiff advised the

  Court of * * * the dismissal of his revocation of acceptance claim * * *." It is clear from

  the record that the trial court did not "find rescission and award contract damages" as

  appellant claims. This argument is without merit.

        {lq 32} Appellant also argues that the trial court's finding that MarineMax violated

 the CSPA is against the weight of the evidence. In support, appellant asserts that the

 "overwhelming evidence" shows a "breakdown in communication" rather than deceit on

 the part of MarineMax or its agents. Appellant stresses that Borror testified that he heard

 the salesman say that the boat had hit a can (buoy) by the reef, while the salesman

 testified he told Borror the boat had hit a reef by the green can. In further support of this

 argument, appellant cites testimony of service manager Oreskovich, who stated he

 thoroughly inspected the boat before and after the second round of repairs, observed the

 repairs being made, and believed that the boat was fully repaired.

        {¶33} Our standard of review on manifest weight of the evidence issues in a civil

 case is whether there is some competent, credible evidence in support of the trial court's

 decision. C.E. Morris Co. v. Foley Constr. Co. (1978), 54 Ohio St.2d 279, syllabus.

        {¶ 34} An appellate court generally must presume that the findings of the trier of

 fact are correct. Seasons Coal Co. v. Cleveland (1984), 10 Ohio St.3d 77, 79-80. The
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 60 of 97 Page ID
                                  #:1946




  tr:er of fact is in the best position to make factual findings, since it has had the

  opportunity to observe the witnesses' demeanor, gestures, and voice inflections which

  cannot be conveyed on appeal through the written record. Id.; Miller v. Miller (1988), 37

  Ohio St.3d 71. "A finding of an error in law is a legitimate ground for reversal, but a

  difference of opinion on credibility of witnesses and evidence is not." Seasons Coal Co.,

  supra, at 81. See, also, State v. DeHass (1967), 10 Ohio St.2d 230, paragraph one of the

  syllabus.

        {if 35} R.C. 1345.02(A) provides that "No supplier shall commit an unfair or

 deceptive act or practice in connection with a consumer transaction. Such an unfair or

 deceptive act or practice by a supplier violates this section when it occurs before, during

 or after the transaction." It is undisputed that, as defined by R.C. 1345.01, Borror was a

 consumer, appellant was a supplier, and the sale of the boat to Borror was a consumer

 transaction. Appellant disputes that it intended to deceive Borror as to the extent of

 damage to the boat and the nature of the repairs.

        {¶ 36} In its September 2005 order, the trial court found that appellant held out the

 boat to have sustained only minor. non-structural damage. The court found that Borror

 took possession of the boat without discovery of the problems because discovery was

 difficult, since it was in the water from the time he first looked at it until he decided to

 purchase it. The trial court further found that the Disclosure Acknowledgement failed to

 set forth "critical facts" as to the damage and repairs. "all of which would have put

 Plaintiff on notice that additional investigation would be appropriate."




 12.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 61 of 97 Page ID
                                  #:1947




         {4[137} Proof of intent to deceive is not required to establish a violation of R.C.

  1345.02. It is sufficient that the conduct complained of "has the likelihood of inducing

  in the mind of the consumer a belief which is not in accord with the facts." Funk v.

  Montgomery AMC/Jeep/Renault (1990), 66 Ohio App.3d 815, 823. Citing a decision of

 the Twelfth District Court of Appeals, the trial court in this case noted that "[t]he place to

 look to determine the presence of deception is the state of mind of the consumer and not

 the intent of the supplier." Thompson v. Jim Dixon Lincoln Mercury, Inc., (Apr. 27,

 1983), 12th Dist. No. 82-11-0109.

           38} Borror testified that after he test drove the boat, he asked salesman Mark

 Walker why such a nice boat had not been sold already. He stated Walker told him it had

 hit a can by the reef and had been sent back to the factory for repairs. Borror testified

 that Walker told him that because of the damage, they would extend the warranty six

 months. Borror stated that Walker pointed to the starboard side of the boat and said it

 was hit along that side. He testified that the boat looked fine. Borror told Walker that

 since the boat had been damaged and sent back to Sea Ray, he wanted to talk to service

 manager Karl Oreskovich, whom he had known for several years and trusted. At no time

 did Walker tell Borror the boat had been grounded on the reef or mention anything that

 would suggest that the boat had suffered stringer damage or any other structural damage.

 Borror testified that he spoke to Oreskovich the following morning by phone and asked

 him what condition the boat was in at that time. Oreskovich told him that after the boat

 was returned from the factory he realized it needed additional repairs. Oreskovich said




 13.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 62 of 97 Page ID
                                  #:1948




  he had the boat worked on locally and that there was nothing to prevent Borror from

  buying it. He did not tell Borror the boat had been grounded, the transmission replaced,

  propeller shafts repaired and stringer broken. After speaking with Oreskovich, Borror

  purchased the boat.

            39} Borror testified that the disclosure acknowledgment did not specify the

  extent of the damage to the boat and that he thought it referred to the damage Walker told

  him about the first time he saw the boat. He further testified that he would not have

  purchased the boat if he had been told the truth about the damage. Borror explained that

  he learned of possible problems with the boat when the person he hired to prepare it for

 the coming season suggested he have someone take a look at damage he noticed on the

 bottom and some other things wrong with it. At that point, Borror hired Group, the

 surveyor, to inspect the boat. He further testified that when he was offered the extended

 warranty he did not think it was intended to cover structural damage done to the stringer.

           40} Debbie Halsey, a friend of Borror's daughter Danielle, testified that she was

 with Borror and his daughter when they first looked at the boat. Halsey testified that she

 heard the salesman say that the boat had hit a can and had been repaired. She did not

 hear Walker say that the boat had been run aground or hit a reef.

        {¶ 41} Danielle Borror testified that she heard Walker tell her father that the boat

 had hit a can and had been fixed. She did not hear any mention of the boat being run

 aground or other damage.




 14.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 63 of 97 Page ID
                                  #:1949




         {¶ 42} Steve Lenthe, an employee of MarineMax, testified that he was taking the

  boat for a test drive when it was damaged. Lenthe stated he hit a reef, not a can, at

  almost full speed. After he returned the boat to the harbor and it was pulled from the

  water, he could see that the props. rudders and gel coat were damaged.

         till 43} Greg Group, the marine surveyor, testified that Borror hired him to inspect

 the boat. He testified in detail as to his findings after he inspected the boat on January 31,

 2003. Group stated that after his inspection he concluded the boat was not seaworthy

 based on the existence of extensive repairs, unrepaired damage, and "vast areas" of the

 boat he was unable to inspect and that did not appear to have been inspected to determine

 whether or not there was additional damage. Group testified that he spoke with

 Oreskovich sometime after he inspected the boat and Oreskovich indicated that "the boat

 had hit a can." He later spoke in passing to Oreskovich, who then told Group that he did

 not intend to say that the boat hit a can but intended to say it hit "out by the can." Group

 also testified that after his inspection he determined the boat was worth approximately

 $300,000 based on its history of damage and repairs.

        {lif 44} Stephen Knox, a certified marine surveyor specializing in damage survey

 and accident investigation, offered his opinion that a properly repaired boat does not

 suffer any loss in fair market value for a fully informed buyer. Knox, who surveyed

 Borror's boat before he sold it, stated that he considered it seaworthy after the repairs.

 Knox testified that he disagreed with conclusions Group reached in his report with regard




 15.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 64 of 97 Page ID
                                  #:1950




  to the quality of the repairs and the extent of damage to the hull. He also expressed his

  opinion that Group grossly undervalued the boat after the repairs were done.

        {It 45} Mark Walker, a salesman at MarineMax at the time Borror purchased his

  boat, testified that when he worked for Marine Max he was instructed not to use Group

  for surveys of used boats because the company believed Group was prejudiced against

 Sea Ray boats. Walker testified that after Borror first looked at the boat he told Borror

 the boat had hit a reef and had been through two rounds of repairs. He then put Borror in

 touch with Oreskovich to further discuss the boat's history.

        fli 46} Ken Oreskovich testified that he looked at the boat after the second round

 of repairs and saw no problems or anything left unrepaired. He did not believe there

 were any structural deficiencies at that time. Oreskovich testified as to his brief

 telephone conversation with Borror in August 2002, after Borror first saw the boat.

 Oreskovich stated he told Borror the boat was run aground in 2001, and said he told

 Borror there was "some pretty good damage to the bottom of it." He testified that he told

 Borror the boat was returned to Sea Ray and repaired further after that because the Sea

 Ray repairs were not adequate. He further testified that Borror's main concern was how

 the boat was repaired as opposed to the accident or the damage. Oreskovich stated he did

 not try to deceive Borror and was not aware of any suggestion from MarineMax that he

 hide the details of the boat's history. He had seen photographs of the damage to the boat

 but did not offer to let Borror see them because "[ijt wasn't asked of me." He further

 testified that MarineMax had not been asked to provide warranty service on the problems




 16.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 65 of 97 Page ID
                                  #:1951




  Borror claimed existed with the boat. Oreskovich explained that after the initial repairs,

  delamination was discovered on the engine stringers which led to the second repair job.

  He stated that when that happens to the inboard and outboard stringers, the boat is not

  structurally sound. Oreskovich testified he was aware that when Tim Mills began to

  repair the boat in 2002, Mills found damage that had not been addressed by Sea Ray

  during the initial repairs.

          {ij 47} This court has thoroughly reviewed the record of proceedings in the trial

 court. Based thereon, we find that there was competent, credible evidence before the trial

 court to support its decision that appellant held out the boat to have sustained only minor,

 non-structural damage and thereby committed an unfair or deceptive act. The trial court's

 application of the Consumer Sales Practices Act to the facts of this case was proper. This

 court must presume that the findings of the trier of fact are correct; a difference of

 opinion as to the credibility of witnesses and evidence is not a legitimate ground for

 reversal. See Seasons Coal Co., supra.2

          {ill' 48} Based on the forgoing, appellant's first assignment of error is not well-

 taken.

          {¶ 49} In its second assignment of error, appellant asserts the trial court erred by

 finding a knowing violation of the CSPA, which is required for an award of attorney fees,



          2 Appellant
                  does not separately challenge the trial court's decision to award treble
 damages. Pursuant to R.C. 1345.09(B), actual damages proven, whether economic or
 noneconomic, are subject to trebling. Whitaker v. M.T. Automotive, Inc., 11 l Ohio
                                                                                      St.3d
 177, 2006-Ohio-5481.




 17.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 66 of 97 Page ID
                                  #:1952




  and abused its discretion by awarding enhanced attorney fees exceeding $420,000.

  Appellant argues that even if reasonable fees were justified, the court erred by enhancing

  them.

          Ili 50} This court has already affirmed the trial court's finding that appellant

  committed a deceptive act in violation of the CSPA. The trial court found further that

 "one can knowingly do an act without knowing that the act is in violation of the law."

  [Brooks v. Hurst Buick-Pontiac-Olds-GMC, Inc. (1985), 23 Ohio App.3d 85]. In

 Einhorn v. Ford Motor Company et al. (1990), 48 Ohio St.3d 27, the Supreme Court of

 Ohio found that the legislative purpose of R.C. 1345.09(F)(2) is best safeguarded "by

 finding that 'knowingly' committing an act or practice in violation of R.C. Chapter 1345

 means that the supplier need only intentionally do the act that violates the Consumer

 Sales Practices Act." Einhorn at 30. The court further found that "[t]he supplier does not

 have to know that his conduct violates the law for the court to grant attorney fees." Id.

 The trial court in the case before us concluded that appellant knowingly violated the

 CSPA when it failed to disclose the structural damage to the boat and also when it

 refused to accept Borror's revocation of the sale. The trial court's findings allowed it to

 award Borror reasonable attorney fees, including expenses.

          (J 51 1 Appellant next argues that the trial court's award of enhanced attorney fees

 was an abuse of discretion. To determine a "reasonable" fee as allowed by R.C.

 1345.09(F), the trial court first calculates the number of hours reasonably expended on

 the case times an hourly fee. The trial court then may modify that figure by applying




 18.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 67 of 97 Page ID
                                  #:1953




  factors listed in DR 2-106(B). See Bittner v. Tri-County Toyota, Inc. (1991), 58 Ohio

  St.3d 143, syllabus. Following the three-day bench trial, Borror submitted a fee request

  of $181,850.75. MarineMax did not contest that figure, with the exception of $2,421 in

  fees generated by a paralegal and law clerk. MarineMax objects to the trial court's

  decision to enhance the fee by $240,000 based on factors set forth in DR 2-106(B).

        {¶ 52} The trial court made numerous findings related to the application of the

 factors set forth in DR 2-106(B). In support of its decision to modify the attorney fees

 upward, the trial court considered the time and labor involved as well as the experience

 and professional skills of Borror's attorneys. The trial court found that the issues in the

 case were novel and difficult; plaintiffs counsel performed "exemplary" legal services;

 the lodestar was inappropriate in light of the difficulty in ascertaining an appropriate fee

 for legal services of this type; and appellant's offer of $35,000 to settle in response to

 Borror's $900,000 settlement demand was so inadequate that Borror was left with no

 choice but to proceed to trial.

        {It 53} Another key factor the trial court considered pursuant to DR 2-106(B) was

 whether the fee was fixed or contingent. In this case, when the lawsuit was initiated,

 Borror and his legal counsel agreed that fees would be paid on an hourly basis. However,

 on March 1, 2005, Borror and his attorneys entered into a contingency fee agreement

 which provided that as of April 1, 2005, attorney fees would be 50 percent of "all money

 and things of value recovered on behalf of [Borrorl that exceeds the amount of




 19.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 68 of 97 Page ID
                                  #:1954




   $486,404.47." This provided for Borror to be made whole for his actual damages before

   paying his attorney fee obligation.

              541 The trial court awarded fees and expenses of $484,727.43; this included the

  $181,850.75 lodestar, a $240,000 enhancement of the lodestar, and expenses of

  $62.877.43.

         IT 55} The trial court explained how it arrived at the enhancement of $240,000.

  The trial court reasoned that because approximately $120,000 of the lodestar was earned

  after Bon-or and his attorneys changed to a contingency fee agreement, Borror's counsel

  "risked" that amount by entering into the second arrangement. The trial court then

  doubled the $120,000 amount and added it to the $181,850.75 lodestar along with

  expenses.

         {¶ 56}A careful review of the trial court's separate decision and order as to

 attorney fees shows that the court's decision to enhance the fee award was heavily

  influenced by the fact that Borror and his attorneys entered into the contingency fee

 agreement. This court does not dispute that such an agreement may be used as a factor,

 among several others, to determine the reasonableness of attorney fees. See Brookov
                                                                                     er v.
 Flexmag Indus., 4th Dist. No. 00CA49, 2002-Ohio-2404: DR 2-106(B)(8). Ohio
                                                                                      courts
 have not always followed that reasoning, however. This court held in Stacy v.

 Nationwide Mut. Ins. Co. (1998). 125 Ohio App.3d 658, 672, that the trial court erred
                                                                                          by
 using a contingent fee agreement to award attorney fees because it was unfair to hold
                                                                                          a
 third party adversary to the terms of another's bargain. Additionally, the Supreme Court




 20 .
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 69 of 97 Page ID
                                  #:1955




  of Ohio has held that to award attorney fees to the prevailing party based on that party's

  contingent fee agreement with counsel constitutes an abuse of discretion. Landis v.

  Grange Mut. Ins. Co. (1998), 82 Ohio St.3d 339, 342-343.

         }11] 57} In spite of Ohio cases rejecting the existence of a contingency fee

  agreement as a determining factor in the award of attorney fees, the trial court found that

  the fee agreement entered into by Borror and his counsel did riot adequately reflect the

  merits of the claim and the difficulty of establishing those merits.

         {40- 58} In further support of its decision, the trial court reasoned that, if this case

 had involved a commonly used contingency fee arrangement of one-third the amount

 recovered, that amount would be $646,121.67. The court further noted that the fee

 awarded of $421,850 represents only 21.9 percent of the amount recovered. The court

 stated that "It is this fact that warrants an enhancement of the 'lodestar' by counsel's

 assumption of the risk times a factor of two, or $240,000.00."

           59} A trial court's determination as to the amount of attorney fees awarded for a

 knowing violation of the CSPA should not be reversed absent a showing that the court

 abused its discretion. Bittner, supra. An abuse of discretion is more than an error of

 judgment or law; it implies the trial court's decision is unreasonable, arbitrary or

 unconscionable. Blakemore v. Blakemore (1985), 5 Ohio St.3d 217, "Unless the amount

 of fees determined is so high or so low as to shock the conscience, an appellate court will

 not interfere." Bittner, supra, at 146, quoting Brooks v. Hurst Buick-Pontiac-Olds-GA/IC,

 Inc. (1985), 23 Ohio App.3d 85, 91.




 21.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 70 of 97 Page ID
                                  #:1956




         III 60} In this case, Borror's attorneys were paid their hourly rate until just a few

  weeks before trial, when they negotiated the contingency fee agreement. A careful

 review of the record does not support either the trial court's finding that Borror's counsel

 "risked" $120,000 by entering into the contingency fee agreement or its decision to

 double that amount in calculating the total attorney fee award. As noted above,

 enhancement of attorney fees is within a trial court's discretion. We find, however, that

 an enhancement of the magnitude ordered by the trial court was not justified. We are

 troubled by what appears to be great weight given by the trial court to its conclusion that

 Berror's counsel took a "risk" by entering into the contingency fee agreement. Granted, if

 Borror had not prevailed on any of his claims, counsel would have collected only the fees

 earned before the new agreement was made. Such is the nature of a contingency fee

 agreement. We also acknowledge that the trial judge, after participating in the trial and

 numerous preliminary proceedings, was in a position to determine the value of services

 rendered by the lawyers who tried to case. Ohio case law tells us that where a court is

 empowered by statute to award attorney fees, the amount of such fees is within the court's

 sound discretion. Bittner, supra, at 146; Brooks, supra, at 91. The record does reflect

 that approximately $120,000 in legal services was rendered after entering into the

 contingency fee agreement. However, to simply take that number and double it appears

 to this court to have been arbitrary and without adequate justification. For the foregoing

 reasons, this court finds that the trial court's decision to enhance the award of attorney




 7-)
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 71 of 97 Page ID
                                  #:1957




  fees by $240,000 was an abuse of discretion. Accordingly, appellant's second assignm
                                                                                                 ent
  of error is well-taken.

         {1161} In its third assignment of error, appellant challenges the trial court's finding

  that MarineMax committed an act of egregious fraud and its decision to award
                                                                                     punitive
  damages. arguing that the decision was against the weight of the evidence.

         {1i 62} To establish fraud, a plaintiff must prove:

         {¶ 63} "(a) a representation or, where there is a duty to disclose, concealment of
                                                                                                 a
 fact.

         If 64} "(b) which is material to the transaction at hand,

         {If 65} "(c) made falsely, with knowledge of its falsity, or with such utter disrega
                                                                                             rd
 and recklessness as to whether it is true or false that knowledge may be inferred
                                                                                     ,

         II 66} "(d) with the intent of misleading another into relying upon it,

         {¶ 67} "(e) justifiable reliance upon the representation or concealment, and

         {¶ 68} "(I) a resulting injury proximately caused by the reliance."

 Burr v. Stark County Board of Commissioners (1986), 23 Ohio St.3d 69, paragra
                                                                                      ph two
 of the syllabus.

           69} Appellant argues that there was insufficient evidence to support a finding of

 fraud, much less egregious fraud. Alternatively, appellant argues that the trial court's

 findings are against the manifest weight of the evidence. While we agree the finding
                                                                                            of
 egregious fraud was not supported by the evidence, we affirm the trial court's finding
                                                                                            that
 appellant committed fraud.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 72 of 97 Page ID
                                  #:1958




         {4it 70} The trial court found that Borror's fraud claim shared a common core of

  facts with the CSPA claim. We agree. The trial court's findings included the followin
                                                                                             g:
  Oreskovich knew his representations were false in that they understated the degree of

  damage and were made with intent to deceive; the Disclosure Acknowledgement was

  made with intent to deceive, as evidenced by the omission of critical information; and

  Walker and Oreskovich intended for Horror to believe their statements and rely upon

  them when making his decision to purchase the boat. The trial court then found that

  punitive damages under the fraud claim were "altogether appropriate," despite Borror's

 statement that he would be satisfied with the damages from a CSPA violation, if trebled.

 The amount of punitive damages awarded was $484,591.27, which was equal to the

 actual damages. Further, having determined that Borror was entitled to punitive

 damages, the trial court found that he also was entitled to attorney fees under the fraud

 claim. However, there appears to have been no additional sum awarded over and above

 the $484,727.43 awarded under the CSPA claim. In its order, the trial court awarded

 Borror "attorneys fees pursuant to R.C. 1345.09(F)(2)."

        {¶ 71} In considering appellant's claims under this assignment of error, we are

 guided by the following standard of review: "Judgments supported by some competent,

 credible evidence going to all the essential elements of the case will not be reversed by
                                                                                             a
 reviewing court as being against the manifest weight of the evidence." C.E. Morris
                                                                                    Co.
 V. Foley Construction Co. (1978), 54 Ohio St. 2d 279.




 24.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 73 of 97 Page ID
                                  #:1959




         {1[ 72} For the following reasons, we find that the record supports the lower court's

  decision that fraud was demonstrated. Representations concerning how the boat was

  damaged, the extent of the damage, and its repair history were material to Borror's

  decision to purchase the boat. The most significant misrepresentation, in the opinion of

  this court, occurred through the bare-bones "Disclosure Acknowledgement" presented to

  Borror for him to sign at the time of the purchase. The "disclosure" stated that the boat

  had been returned to the manufacturer for repairs but, importantly, said nothing about the

 additional repairs required after it was discovered that all of the damage had not in fact

  been remedied by the manufacturer. The representations made by MarineMax were

 made falsely, clearly with knowledge of their falsity, with the intent of misleading Borror

 into relying upon them. Lastly, Borror justifiably relied upon those representations,

 which resulted in his economic injury.

           73} Borror testified that had he known of the extent of the damage to the boat

 and its repair history, he would not have bought it. Therefore, had he not relied on

 appellant's representations, his subsequent damages would never have resulted. In

 summary. appellant knew it was concealing information about the boat, intended reliance,

 and in fact misled Borror to his detriment.

        III 74} Based on the foregoing, this court finds that MarineMax committed fraud

 upon Borror. The trial court's finding is not against the manifest weight of the evidence.

 flaying made that determination, we now consider appellant's assertion that the trial court




 25.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 74 of 97 Page ID
                                  #:1960




  erred by finding that MarineMax committed egregious fraud and ordering punitive

  damages..

         {1175} The Ohio Supreme Court held in the third paragraph of the syllabus of

  Charles R. Combs Trucking, Inc. v. Internatl. Harvester Co. (1984), 12 Ohio St.3d 241:

              76} "In each case of alleged fraud the plaintiff, in order to be awarded punitive

  damages, must establish not only the elements of the tort itself but, in addition, must

 either show that the fraud is aggravated by the existence of malice or ill will, or must

 demonstrate that the wrongdoing is particularly gross or egregious."

        }¶ 77} Further, in weighing this issue, the United States Supreme Court has stated

 that it should be presumed a plaintiff has been made whole by compensatory damage
                                                                                            s,
 and punitive damages should be awarded only if the defendant's culpability is so

 reprehensible to warrant the imposition of further sanctions to achieve punishment or

 deterrence. State Farm Mut. Auto Ins. Co. v. Campbell (2003), 538 U.S. 408.

        {¶ 78} The infliction of economic injury, especially when done intentionally

 through affirmative acts of misconduct, can warrant a substantial penalty. But all acts

 that cause economic harm do not constitute torts that are sufficiently reprehensible to

 justify a significant sanction in addition to compensatory damages. BMW of North

 America, Inc. v. Gore (1996), 517 U.S. 559.

        {'IF 79} We find that Borror did not present any evidence which would elevate the

 fraud committed against him to the level we believe was contemplated by the court in

 Combs Trucking, supra. There was no evidence presented in addition to that needed
                                                                                          to




 26.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 75 of 97 Page ID
                                  #:1961




  establish a basic case of fraud. Borror did not establish that the fraud was aggravated by

  malice or ill will on the part of MarineMax, nor did he demonstrate that the fraudulent

  inducement was "particularly gross or egregious." Accordingly, we find that the trial

  court erred by finding that appellant committed egregious fraud and by awarding punitive

  damages on the claim.

        {¶ 80} As appellant notes, this court in Brenner Marine, Inc. v. Goudreau (Jan. 13,

 1995), 6th Dist. No. L-93-077, held that "an award of punitive damages in addition to the

 treble damages provided for under the Consumer Sales Practices Act" constitutes error as

 a matter of law. Ohio courts have held that a plaintiff may not obtain multiple recoveries

 for actual damages under different legal theories for the same conduct of a defendant.

 See Brenner Marine, supra; Hamlin Steel Products, Inc. v. Bur. of Employment Serv.

 (1977), 54 Ohio App.2d 173. This court relied on Hamlin in Brenner Marine, wherein

 we concluded that the trial court erred by awarding punitive damages for fraud in

 addition to treble damages under the CSPA where the same facts supported both claims.

 A decision on this issue in this case would require a determination of whether the trial

 court awarded Borror damages for his actual loss on his CSPA claim and actual damages

 again via the punitive damages award on the fraud claim. However, we need not make

 such a finding here in light of our reversal of the trial court's award of punitive damages.

        {1181} As to the trial court's decision that an award of attorney fees was justified

 on this claim, since there appears to have been no additional award actually ordered over




 27.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 76 of 97 Page ID
                                  #:1962




  and above the $484,727.43 awarded under the CSPA claim, this claimed error is without

  merit.

           {1I 82} Based on the foregoing, appellant's third assignment of error is well-taken.

           If 83} In its fourth assignment of error, appellant argues alternatively that the trial

 court erred when it awarded punitive damages in additional to the trebled damages and in

 its calculation of attorney fees. First, we note that while appellant's statement of its

 assignment of error refers to an error in calculation of attorney fees, its argument in

 support of its fourth assignment of error does not address that issue. Therefore, this court

 will not consider it. Next, we find that in light of our determination above that the trial

 court erred in awarding punitive damages, this assignment of error is moot.

           If 84} In its fifth assignment of error, appellant asserts that the trial court abused

 its discretion when it awarded prejudgment interest. Appellant argues that the award of

 prejudgment interest punishes MarineMax for exercising its right to trial. Appellant

 claims it "vigorously" defended itself because it believed that its representatives were

 honest with Borror regarding the boat's history. MarineMax further asserts it did make a

 good faith settlement offer.

           {1185} Whether to grant an award of prejudgment interest rests with the trial

 court's sound discretion. Scioto Mem. Hosp. Assn., Inc. v. Price Waterhouse (1996), 74

 Ohio St. 3d 474, 479. Absent a clear abuse of discretion, a trial court's decision on the

 matter should not be reversed. Mobberly v. Hendricks (1994), 98 Ohio App. 3d 839. 845.




 28.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 77 of 97 Page ID
                                  #:1963




  Again, an abuse of discretion occurs where a court's decision is unreasonable, arbitrary,

  or unconscionable. Blakemore v. Blakemore, 5 Ohio St. 3d 217.

         {IT 86} In the instant action, prejudgment interest was awarded pursuant to R.C.

  1343.03(C) which provides:

            87} "Interest on a judgment, decree, or order for the payment of money

  rendered in a civil action based upon tortious conduct and not settled by agreement of the

  parties, shall be computed from the date the cause of action accrued to the date on which

  the money is paid, if, upon motion of any party to the action, the court determines at a

  hearing held subsequent to the verdict or decision in the action that the party required to

 pay the money failed to make a good faith effort to settle the case and that the party to

 whom the money is to he paid did not fail to make a good faith effort to settle the case."

 (Emphasis added.)

         III 88} Whether a party has made a good faith effort to settle under R.C.

 1343.03(C) is determined by whether he or she has: 1) fully cooperated in discovery

 proceedings, 2) rationally evaluated the risks and potential liability, 3) not attempted to

 unnecessarily delay any of the proceedings, and 4) made a good faith monetary

 settlement offer or responded in good faith to an offer from the other party. Kalain v.

 Smith (1986), 25 Ohio St. 3d 157, syllabus. All four criteria must be met. We stress that

 "whether a party's settlement efforts indicate good faith is generally within the sound

 discretion of the trial court" and will not be overturned absent an abuse of discretion. Id.

 at 159. If, however, a party has a good faith. objectively reasonable belief that it has no




 29.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 78 of 97 Page ID
                                  #:1964




  liability, it is not required to make a settlement offer to avoid payment of prejudgment

  interest. Id. at syllabus; Edgerson v. Cleveland Elec. Ilium. Co. (1985), 28 Ohio App.3d

  24, 27-28. Egleston v. Fell (Feb. 9, 1996), 6th Dist. No. L-95-127.

            89} Borror filed a motion for prejudgment interest on September 23, 2005.

  Borror asserted he was entitled to prejudgment interest of $141,148.40, based on the boat

  having been purchased three years and 34 days before the trial court's decision and order.

  This was followed by a memorandum in opposition, reply and surreply. The trial court

  held a hearing on the matter on December 22, 2005, when the testimony of the parties'

  counsel was taken. Testimony regarding settlement negotiations revealed that Borror

  made one settlement demand of $900,000 during mediation on February 1, 2005.

  Appellant made a counter-offer of $35,000 on March 16, 2005. Borror did not counter

 that offer. Appellant's attorney testified that in mid-April he contacted Borror's attorney

 by telephone in an attempt to restart negotiations. He asked Borror's attorney if he would

 respond to the offer of $35,000 that had been made in March and said he had authority to

 negotiate.. Borror's attorney indicated he did not consider appellant's offer "serious."

        {¶ 90} The trial court found that Borror was not obligated to make any additional

 monetary settlement offers. The court further found that appellant's offer was "so

 inadequate as to justify the termination of settlement discussions" and concluded that as

 such, appellant could not claim that it made a good faith effort to settle the case. In its

 order, the trial court did not calculate the amount of interest to be awarded or specify the

 applicable interest rates.




 30 .
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 79 of 97 Page ID
                                  #:1965




        {¶ 91} There is no shortage of case law in Ohio dealing with the issue of

  prejudgment interest. There have been many decisions, including some from the

 Supreme Court of Ohio, reversing a trial court's order when one of the parties failed to

 make a settlement offer. See, e.g.. Moskovitz v. Mt. Sinai Med. Ctr. (1994), 69 Ohio

 St.3d 638. Such was not the case herein, as Borror made the initial offer and appellant

 responded with a counteroffer. The issues in this case then become whether the trial

 court abused its discretion in determining that appellant's counteroffer was so inadequate

 as to justify the conclusion that it failed to respond in good faith, and whether the trial

 court was punishing appellant for exercising its right to trial. This court has held that it is

 "an injustice to penalize a party for exercising her right to trial." (Citations omitted.)

 Steele v. Diab (Dec. 3, 1999), 6th Dist. No. E-98-035. In Steele, the appellant had

 admitted she was negligent at the time of the automobile accident that gave rise to the

 case, but disputed that her negligence was the proximate cause of appellee's injuries, and

 the matter proceeded to trial.

        {¶ 92} We are mindful, however, of the holding of the Ohio Supreme Court in

 Aloskovitz, supra, that the "ultimate decision whether to award prejudgment interest rests

 with the trial judge."

        ti[r 93} The trial court concluded that appellant failed to put forth evidence

 suggesting it made any offers that would constitute a reasonable basis for settlement

 discussions. It also found that Borror's demand was not unreasonable. The court thus

 rejected appellant's claim that it made a good faith effort to settle the case. Upon our




 31.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 80 of 97 Page ID
                                  #:1966




  review of the record, we are unable to find that the trial court was attempting to penalize

  appellant for exercising its right to a trial.

            94} Based on the foregoing, guided by the clear message from the Ohio

  Supreme Court that the "ultimate decision" on this issue rests in the trial court's

  discretion, we are unable to find that the decision of the trial court in this case was an

  abuse of discretion. Accordingly. appellant's fifth assignment of error is not well-taken.

         {¶ 95} On consideration whereof, the judgment of the Ottawa County Court of

 Common Pleas is affirmed in part and reversed in part. This matter is remanded to the

 trial court for further proceedings consistent with this decision and judgment entry. The

 parties are ordered to pay equal shares of the costs of this appeal pursuant to App.R. 24.

 Judgment for the clerk's expense incurred in preparation of the record, fees allowed by

 law, and the fee for filing the appeal is awarded to Ottawa County.


                                                    JUDGMENT AFFIRMED IN PART
                                                    AND REVERSED IN PART.




        A certified copy of this entry shall constitute the mandate pursuant to App.R. 27.
 See. also, 6th Dist.Loc.App.R. 4.




 32.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 81 of 97 Page ID
                                  #:1967




                                                   Borror v. MarineMax of Ohio, Inc.
                                                   C.A. No. OT-06-010




  Arlene Singer, J.
                                                                 JUDGE
 William J. Skow, J.

 George M. Glasser, J.                                           JUDGE
 CONCUR.

                                                                 JUDGE


 Judge George M. Glasser, retired, sitting by assignment of the Chief Justice
                                                                              of the
 Supreme Court of Ohio.




           This decision is subject to further editing by the Supreme Court of
       Ohio's Reporter of Decisions. Parties interested in viewing the final reporte
                                                                                     d
            version are advised to visit the Ohio Supreme Court's web site at:
                  http://www.sconet.state.oh.us/rod/newpdr?source=6.




33.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 82 of 97 Page ID
                                  #:1968




                        EXHIBIT Q
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 83 of 97 Page ID
                                  #:1969




                              COURT OF CONMON PLEAS
                              HAMILTON COUNTY, 'OHIO


      WILLIAM J. BROWN, et al.
      Attorney General of Ohio
                                                CASE. NO. A-742156
                     Plaintiffs,
                                                JUDGE JOHN W. KEEFE
           v.
      HAROLD KENNETH LYONS, et al.              FINDINGS OF FACT AND
                                                CONCLUSIONS OF LAW
                     Defendants.



           This cause having come on for trial and the Court, having heard
      the evidence presented by the plaintiffs and defendants, and having
      ruled in favor of plaintiffs, and the plaintiffs having filed a
      quest for separate findings of fact and conclusions of law, therefore
      the Court finds the facts and states the conclusions of law as fol-
      lows:
                     FINDINGS OF FACT FOR ATTORNEY GENERAL
           1.   Harold Kenneth Lyons and his employees engaged in consumer
      transactions in the State of Ohio beginning a date unknown but at
      least from March 1973, at the following locations: -
                (a) 2935 Jessamine, Cincinnati, Ohio;                •
                (b) 1725 Vine Street, Cincinnati, Ohio;
                (c) 5259 Colerain, Cincinnati, Ohio;
                (d) 4152 Hamilton Avenue, Cincinnati, Ohio;
                (e) 2916 Colerain, Cincinnati, Ohio.
                        •
                                           a
            2.
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Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 84 of 97 Page ID
                                  #:1970


                 Harold Kenneth . Lyons and his employees, in the course of
       engaging in consumer transactions, used the phone. numbers 542-7515
       and 542-7442.
            3.   Harold Kenneth Lyons, in connection with engaging in consu-
       mer transactions, identified himself by the•following names:
                 (a) Harold Lawrence;
                 (b) Ken Lawrence;
                 (c) Harold Davis;
                 (d) William Lawrence;
                 (e) Mr. Harold,
          . 4. Harold Kenneth Lyons and his employees engaged in consumer
       transactions using the following business names:
                 (a) Emergency Refrigeration Service;
                 (b) ABC'Appliances;
                 (c) Harold's Appliances, Sales and Service;
                 (d) ACCO & Co.
            5.   Harold Kenneth Lyons employed sales persons and repairmen to
       engage-in the business of the sale of used appliances and the repair of
       used appliances.
            6.   Harold Kenneth Lyons personally represented, and authorized
       his sales persons to represent the characteristics of the goods and
       services or warranties of the goods and services sold to consumers.
            7.   Harold Kenneth Lyons and his employees, in the course of
       engaging in consumer transactions, represented, expressly or impliedly,
       that goods sold by him were of merchantable quality, and would perform
       •
       in the manner for which such goods were used.
            8.   Harold Kenneth Lyons represented, or authorized representa-
       tions by his sales persons, that goods and services sold by him were .
       warranted or guaranteed for a certain specific period of time, usually
       for a period of ninety (90) days.




                                         •• 2 -
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 85 of 97 Page ID
                                     #:1971
                   Harlig Kenneth Lyons failed to repailikods or. replace goods,
            10.
        or refund consumers' money when these goods were not of a merchantDble
        quality, and did not perform in a manner for which such goods 'were used.
            11.    Harold Kenneth Lyons represented, or authorized representa-
        tions by his sales persons, that appliances were in working condition
        at the time of sale.
            12.    Harold Kenneth Lyons or his employees sold certain appliances
        that were not in working condition, despite the representations that said
        appliances were in working condition.
            13.    After failing to provide goods and services, Harold Kenneth
        Lyons also failed to refund consumers' payments for said goods and ser-
        vices.
            14.    Harold Kenneth Lyons or his employees' represented that his good
        and services had performance characteristics, uses, and benefits which,
        in fact, they did not. have.
            15.    Harold Kenneth Lyons failed to provide in advance to the
        consumer, when anticipated repairs exceed $25.00, a written estimate
        of the cost to the consumer of the anticipated repairs, the basis
        upon which the charge to the consumer would be made, and the reason-
        ably expected completion date of such repairs, including any charge
        for reassembly of any• parts disassembled for inspection, or any ser-
        vice charge to be imposed.'.
            16. Harold Kenneth Lyons represented, .or authorized representa-
                                      •
        tions by his repairmen, that defects in appliances had been repaired
        when, in'fact, the repairs had not been properly performed.
           :17.    Due to the complex electrical and mechanical nature of
      -household   appliances, many consumers are unable tp personally determine
        whether appliances are working properly or repaired properly. Further-
        more, consumers are unable to comprehend the internal mechanical opera-
        tion of appliances as well as the identification of parts, terms and
        mechanical functions..   Therefore, those consumers must rely on the
        expertise of suppliers who hold themselves out to be appliance dealers
       .and appliance repairmen. Harold Kenneth Lyons and his employees:




                                            3
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 86 of 97 Page ID
                     I.           #:1972
                  (a) Intentionally and knowingly made misleading statements
                       of opinion.uPon which consumers relied regarding the
                       quality and operation Of used appliances which Consu-
                       mers purchased;
                  (b) Intentionally and knowingly made misleading statements
                       of opinion upon which consumers relied regarding the
                       work necessary to repair consumers' defective appliances
                       and repair work already perforMed;
                  (c) Knowingly took advantage of the inability of the coosu-
                      mer to protect his interests because of his inability
                      to understand technical terms by intentionally making
                           4
                      deceptive and false statements in the sale or repair of
                       used appliances, and by performi6 useless and unneces-
                      sary repairs.
           18.   Harold Kenneth Lyons and his employees knew at the time of
       the consumer transactions of the inability of the consumer to receive
        a substantial benefit because the used appliances did not work, guaran-
       tees and warranties would not be honored, or that useless and unneces-
       sary -repairs were made.
           19.   Harold Kenneth Lyons, in connection with consumer transactions,
       avoided his legal obligations to consumers in each of the following re-
                                             0
       spects:
                  (a) Concealing his real identity from consumers with whom
                      he.dealt by using several fictitious names or aliases as
                      his name;
                  (b) Frequently changing the names under which he did busi-
                      ness;                          • '

                  (c) Frequently changing the geographic location from which
                       he did business;

                  (d) Failing to answer his business phones for unreasonable
                      lengths of time;
                  (e). Failing to return calls to consumers;
                  (f) Selling defective merchandise and thereafter failing
                       to honor warranties.
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 87 of 97 Page ID
                                  #:1973
            20.    Harold Kenneth Lyons; in connection with consumer transactions,
        consistently maintained a pattern of inefficiency, incompetency, stall-
        ing and evasion.
                       ADDITIONAL FINDINGS OF FACT FOR INTERVENORS
         •21.      The following consumer-plaintiffs purchased used appliances
        from. Harold Kenneth Lyons and his employees which did not perform ac-
        cording to the representations made by Harold Kenneth Lyons and his em-
        ployees, and which were not repaired or replaced pursuant to express and
        implied warranties (as set forth in Findings of Fact numbers 6 through
        14 herein):                       •
                   (a) Rebecca Green;
                   (b) Virginia Ferrarelli;*
                  - (c) Earl Owens;
                   (d) Lucille Cody;
                   .


                   (e) Ruth Blackburn.
           22.     The following consumer-plaintiffs paid money. for the repair
       of used appliances to Harald Kenneth Lyons or his employees, which re-
       pair was improperly performed (as set forth•in Findings of Fact numbers
       15 and•16 herein):
                   (a) Beatrice McWilliams;
                   (b) Saundra Cheek;
                   (c) Linnie Caldwell;        •

                   (d) Olivia Thompson;
                   (e) Jo'sephine Dickhaus;
                   (f) Raymond Colson;
                   (g) Luther Walker;
                   (h) Zita Crooker.
           23.     Harold Kenneth Lyons and his employees engaged in the acts •
       and practices (as set forth in Findings of Fact numbers 17 through 21)
       with respect to each of the consumer-plaintiffs herein.
           24.     Harold Kenneth Lyons and his employees failed to return con-
       sumers appliandes which were taken from their homes for repair.
                        •                                •
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 88 of 97 Page ID
                                  #:1974

                        CONCLUSIONS OF LAW FOR ATTORNEY GENERAL
               From the foregoing facts, the Court makes the following conclusions
       of law:
               1.   Harold Kenneth Lyons is a "supplier" as defined by Section
       1345.01(C), Ohio Revised Code and is a merchant as defined by Section
      ,13Q2.01(A)(5), Ohio Revised Code.
               2.   Sales persons, repairmen,. and employees of Harold Kenneth
       Lyons who effected or solicited consumer transactions, are agents orf"
       Harold Kenneth Lyons and therefore, Haiold Kenneth Lyons is legally
       responsible for the acts and practices of his agents.
               3.Harold Kenneth Lyons and his agents.have engaged in numerous
                                                      I
       "consumer transactions" as defined by Section 1345.01(A), Ohio Revised
       Code.
            4.      Harold Kenneth Lyons and his agents, in the sale of appli-
       ances, have created express warranties as defined in Section 1302.26,
       Ohio Revised Code.
            5.      Failure by a supplier in connection with a consumer transaction
       to honor express warranties, constitute deceptive acts and practices in
       violation of the Ohio Consumer Sales Practices Act, Section 1345.02(A),
       Ohio Revised Code. This failure also constitutes a.violation of Section
       1345.02(B)(10), Ohig,Revis'ed Code.
            6.      Harold Kenneth Lyons and his agents; in the sale of appliances,
       have created implied warranties of merchantability as defined in Section
       1302.27, Ohio Revised Code.
            7.      Failiare by a supplier in connection with a consumer transaction'
       to honor implied warranties of merchantability constitutes a deceptive
       act and practice in violation of the Ohio Consumer Sales Practices Ac't,
       Section 1345.02(A), Ohio Revised Code. This failure to honor implied
       warranties also constitutes a violation of Section 1345.02(B)(10), Ohio
       Revised Code.
            8.      Representations by a supplier .in connection with a consumer
       transaction that goods and services have performance characteristics,
                                                        •
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 89 of 97 Page ID
                                  #:1975


          uses, and benefits which, in fact, they do not have constitute deceptive
      •
          acts and practices in violation of Section 1345.02(A), Ohio Revised Code.
          These representations also specifically violate Section 1345.(12(B)(1),
          Ohio Revised Code.
               9. .Failure by a supplier in connection with a consumer transactior
          to provide goods and services while also failing to refund consumers'
          money after consumers have paid for said goods and services consitute
          deceptive acts and practices in violation of Section 1345.02(A), Ohio
          Revised Code. This also specifically violates Section 1345.02(B)(6),
          Ohio Revised Code.
              10. • A supplier who in connection with.a consumer transaction
          accepts monies from consumers for goods or services and then allows
          an unreasonable length of time to elapse without:
                    (a) making shipment or delivery of the goods ordered;
                    (b) making full refund;
                    (o) advising the consumer of the duration of an extended
                         delay and offering to send him a refund within a rea-
                        sonable length of time if so requested; or
                    (d) furnishing similar goods of equal or greater value as
                         a good
               •              p faith substitute,
          commits a deceptive act and practice in violation of the Ohio Consumer
          Sales Practices Act, Section 1345.02(A), Ohio Revised Code.
             11. A supplier who in connection With a consumer transatizr fails
          to provide in advance to the consumer, when anticipated repairs exceed
       425.00, a written estimate of the cost to the consumer of the antici-
          pated repairs, the basis upon which the charge to the consumer will be
          made, and the reasonably expected completion date of such repairs, in-
          cluding any charge for reassembly of any parts disassembled for inspec-
          tion or any service charge to be imposed commits a deceptive act and
          practice in violation of the Ohio Consumer Sales Practices Act, Section
          1345.02(A), Ohio Revised Code. This also specifically violates the Ohio
          Director of Commerce's Substantive Rule COcp-3-01.05(A)(1).
                     •
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 90 of 97 Page ID
                                  #:1976              a
           12.   Where a supplier has legal obligations to consumers, and whore
       there'are no valid legal defenses for not performing those obligations,
       a supplier who avoids or attempts to avoid those obligations commits a
       deceptive act and practice in violation of the Ohio Consumer Sales Prac-
      tices Act, Section 1345.02(A), Ohio Revised Code.
          13.    A supplier in connection with a consumer transaction who con-.
       sistently maintains a pattern of inefficiency, incompetency, or continu-
       ally stalls and evades his legal obligations to consumers, commits an
                                                                           •
       unconscionable act and practice in violation of the Ohio Consumer Sales
      Practices Act, Section 1345.03(A), Ohio Revised Code, providing an
      adequate legal basis for the award to the consumer of punitive damages
      in an action where such damages have been requested from the Court.
          14.    Where a supplier in connection with a consumer. transaction
      knowingly takes advantage of the inability of the consumer reasonably
      to protect his interests because of his physical or mental infirmities,
      ignorance, illiteracy, or inability to understand the language of an
      agreement, the supplier commits an unconscionable act'and practice in
       violation of the Ohio ConsUmer SaleS Practices Act, Section 1345.03(A),
      Ohio Revised Code.
          15.    Where a supplier in connection with a consumer transaction
      knows at the time the consumer transaction was entered into of the
      inability of the consumer to receive a substantial benefit from the
                            •
      subject of the consumer transaction, the supplier commits an unconscion-
      able act . and practice in violation of the Ohio Consumer Sales Practices
      Act, Section 1345.03(A), Ohio Revised Code,
           16.   Where a supplier in connection with a consumer transaction
      knowingly makes a misleading statement of opinion on which the consumer
      is likely to rely to his detriment, the supplier'commits an unconscionablE
      act or practice in violation of the Ohio Consumer Sales Practices Act,
       Section 1345.03(A), Ohio Revised Code.




                                          8
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 91 of 97 Page ID
                                  #:1977
                      ADDITIONAL CONCLUSIONS OF LAW FOR INTERVENORS
           17.     Harold Kenneth Lyons committed deceptive and unconscionable
       acts and .practices in connection with consumer transactions in viola-
       tion of the Ohio Consumer Sales Practices Act, Section 1345.01, et sea.,
       Ohio Revised -Code, entitling each of the named plaintiffs herein to
       their actual damages as a result of these deceptive and. unconscionable
       acts under Ohio Revised Code, Section 1345.09.
           18.     Harold Kenneth Lyons consistently maintained a pattern of in-
       efficiency, incompentency, and continually stalled and evaded his legal
       obligations to plaintiffs-intervenors, in violation of the Ohio Consumer
       Sales Practices Act, Section 1345.03(A), Ohio Revised Code, entitling
       each of the plaintiffs-intervenors herein to pullitive damages in the
       amount of Two Hundred' Fifty Dqllars ($250.00) each:
           19.     Harold Kenneth Lyons failed to hon.:3r the express and implied
       warranties made in connection with the sale of goods to plaintiff-inter-
       venors. As a result of this failure, these plaintiffs are entitled
       their actual damages under Ohio Revised C      , Sion 1301.88.



            Date




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Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 92 of 97 Page ID
                                  #:1978




                        EXHIBIT R
    Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 93 of 97 Page ID
                                      #:1979




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             'Case Name:      CRANFORD V. JOSEPH AIRPORT TOYOTA, INC.

            '    •
            •*Case 'Number: • 115108                    •




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Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 94 of 97 Page ID
                                  #:1980




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                     ATTORNEY GENERAL OF OHIO
                      COMM TRMIS & CRIMES
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                 IN THE COURT OF APPEALS OF MONTGOMERY COUNTY, OHIO

            MARK J. CRANFORD and
            JEANINE F. CRANFORD
                 Plaintiffs-Appellants/                          C.A. Case No. 15408
                 Cross-Appellees
            v.                                                   T.C. CASE NO. 94-2431
            JOSEPH AIRPORT TOYOTA, INC.
                 Defendant-Appellee/
                 Cross-Appellant


                                                 OPINION

                 Rendered on the :17th                    day of       May   , 1996.



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                Attorneys for Defendant-Appellee/Cross Appellant


                                                    COURT OF APPEALS
                                                 SECOND APPELLATE DISTRICT
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 95 of 97 Page ID
                                  #:1981




            PER CURIAM:
                 This is an appeal and a cross-appeal from a judgment
            rescinding a contract to purchase an automobile upon a
            finding that the seller had violated the Consumer Sales
            Practices Act, R.C.Chp.1345.
                 On February 17, 1994, Mark Cranford and his daughter,
            Jeanine Cranford, visited the used car sales lot of Joseph
            Airport Toyota, Inc. ("Joseph") to shop for a car for
            Jeanine. They were shown several cars by one of Joseph's
            salesmen, Eddie Bressler.
                 After the Cranfords showed interest in a 1989 ISUZU
            Trooper, Bressler persuaded them to sign a sales contract,
            loan application, and associated documents to purchase the
            vehicle. The Cranfords drove the car off the lot.
                 The Cranfords returned the following morning. They
            complained that one of the car's doors would not close
            properly, a defect which Joseph promised to fix. The
            Cranfords also complained that the monthly payment on the
            loan Joseph had arranged through Huntington Bank was more
            than Jeanine Cranford could afford. Whether for that
            reason, or because Huntington Bank had since declined to
            make the loan, Joseph proposed to seek new financing.
                 Joseph prepared an application for a loan with lower
            monthly payments from Union Federal Savings Bank. Joseph
            reduced the sale price of the car but arranged for a longer
            finance term to make up the difference. The price chaa
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                                        COURT OF APPEALS
                                   SECOND APPELLATE DISTRICT
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 96 of 97 Page ID
                                  #:1982




            apparently required a new written sales contract. Joseph
            prepared a contract, but dated it for the prior day,
            February 17, 1994. The Cranfords signed the new contract,
            and the loan application. They left the car with Joseph for
            repairs on the door.
                 The following day, February 19, 1994, the ISUZU Trooper
            was advertised for sale by Joseph in a local newspaper for
            less than the Cranfords had paid for it. Several days
            later, an attorney representing the Cranfords sent Joseph a
            written notice of rescission. Joseph did not treat the sale
            as rescinded, however, and subsequently accepted payment
            from Union Federal Savings Bank of the proceeds of the
            Cranfords' loan.

                 The Cranfords never returned for the vehicle. They
            were repeatedly dunned for payment by Union Federal Savings
            Bank. Ultimately, the Cranfords filed this action seeking
            to rescind the sale and cancel their debt. Their obligation
            to Union Federal Savings Bank was apparently settled as a
           result.
                The Cranfords brought this action for violations of the
           Consumer Sales Practices Act, claiming that in its dealings
           with them Joseph had committed several unfair or deceptive
           acts or practices prohibited by the Act. Joseph denied the
           claims. After a trial, the court found that Joseph
           violated the act by (1) back-dating the sales contract
           signed on February 18, 1994 to February 17, 1994, (2) by


                                      COURT OF APPEALS
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                                   SECOND APPELLATE DISTRICT
Case 8:17-cv-00838-JLS-JDE Document 89-6 Filed 09/04/18 Page 97 of 97 Page ID
                                  #:1983




            using the term "M.S.R.P." in the sales contract though the
            ISUZU Trooper was a used vehicle, and (3) by failing to sell
            the ISUZU to the Cranfords at the price advertised on
            February 19, 1994. The court ordered the sale rescinded,
            but it denied the Cranford's request for attorney fees.

                 The Cranfords appealed from the order. Joseph filed a
            cross-appeal. For purposes of clarity, Joseph's assignments
            of error are discussed first.
                                           I.
                            JOSEPH AIRPORT TOYOTA, INC'S
                                 ASSIGNMENT OF ERROR
                      THE TRIAL COURT ERRED IN FINDING THAT
                      JOSEPH VIOLATED THE CONSUMER SALES
                      PRACTICES ACT. O.R.C. § 1345.01 ET SEQ.,
                      AND THAT THE CRANFORDS WERE ENTITLED TO
                      RECISION OF THE PURCHASE CONTRACT.
                 Joseph presents three specific issues for review
            concerning the violations which the trial court found. They
            are discussed below.
                R.C. 1345.02 (A) states:
                     No supplier shall commit an unfair or
                     deceptive act or practice in connection
                     with a consumer transaction. Such an
                     unfair or deceptive act or practice by a
                     supplier violates this section whether
                     it occurs before, during, or after the
                     transaction.
           At part (B), the statute sets out ten events typical and
           illustrative of acts or practices that are unfair or
           deceptive. None of those specific acts were found here.
                A sales practice is deceptive within the meaning of
           R.C. 1345.02(A) if it has the tendency or capacity to
                                                           usict,
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                                   SECOND APPELLATE DISTRICT
